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         Exhibit	  P	  
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                                                              Home      My Network   Jobs   Me




Dan   Kikinis  · 3rd
Chairman Of The Board at Liquineq AG
     OTOPY, INC.
     ETH Zürich
Los Altos, California, United States · Contact info
500+ connections
     Connect            Message           More

About
Approach:
Many varied experiences enable taking an unconventional view point, thus further
improving the unique value of a venture.
Packaging of Intellectual Property into Innovation for creating added value
beyond the service/products addressed.
Activity
Interested in learning new things and in new challenges
1,679 followers
Dan
BIO hasn't posted lately
Dan’s recent posts and comments will be displayed here.
Dan Kikinis has more than 20 years of deep experience in the development of
high-technology products andShow intellectual property, with more than 260 issued
                                        all activity
US patents, many with worldwide counterparts,      in technology areas such as
computing systems, Internet, networks and other systems. Dan Is a founder and
of and currently Chairman and Chief Science Officer at Liquineq AG, CTO of
Experience
Otopy, Inc. and architected Otopy's novel AI and Search technology for Big Data.
Dan alsoOTOPY,
          serves atINC.
                    Futuredial, Inc. in the mobile SW space. Dan earlier served as
CTO for Cimbal, Inc. payments, at iSurftTV, which was sold to Tribune Media
Systems.20Before
             yrs joining iSurfTV, Mr. Kikinis was founder and president of Lextron
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                                                             Home      My Network    Jobs   Me
   Dan Kikinis                                 More           Message           Connect
   Chairman Of The Board at Liquineq AG

      Experience
       OTOPY, INC.
       20 yrs
       CTO Otopy
       2003 - Present · 20 yrs
       Silicon Valley, USA
       Otopy, Inc. is a silicon valley software company that has developed a
       next-generation AI search technology. The technology is applicable to a
       wide variety of applications. Currently the software is being used by the
       US Intelligence Community. Otopy is currently working with Stanford
       Medical Research to help solve big medical problems like Alzheimer’s,
       and the larger issue of diabetes and insulin resistance. Once this is
       deployed it could be applied to other chronic disease such as other
       types of dementia, or other neurological chronic disease such as
       Parkinson’s. The results could then be used to develop other cures using
       personalized medicine. This application has the potential to become a
       game changer in the medical field.
       CTO
       Dec 2003 - Present · 19 yrs 1 mo
       San Francisco Bay Area
       - developed Medical Industry architecture 2018
       - deployed eCommerce solution on AWS 2017
       - prepare for AWS data lake service delivery 2017
       - AWS delivery planned and implemented 2016
       - mobile devices behavior and failure analytic system (NTF reduction)
       designed and implemented
       - u-Gram based indexing and search technology
       - Big Data Analytics capabilities for very large indices and fanout
       reduction
       - for very large, unstructured, semi-structured and structured data sets
       with drag and drop data connectivity
       - cloud based, both Hadoop and VMware
       - Otopy also offers block-chain enhanced architecture to provide an
       extra layer of security and fine granularity privacy control for customers
       data
       - up to 100x more efficient than conventional search systems in terms of
       time, equipment and energy use
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       - in its own class ot search technology (not ontology and not colocation)
       www.otopy.com Adding Intelligence to Search Home My Network                   Jobs   Me
                           Today's digital universe (the internet, your personal
                           data, corporate data and government data) is a wild,…

       Liquineq
       6 yrs
       Chairman Of The Board
       2017 - Present · 6 yrs
       Switzerland
       Liquineq™ is a FinTech solution based on a permissioned Multitier
       Blockchain financial platform optimized to address the flaws in the
       existing banking system as well as new challenges posed by slow
       blockchain performance, revocation/redemption of tokens that are stolen
       or lost and the ability to easily use Liquideum tokens as fiat currency, as
       well as compliance problems of most cryptocurrencies and many
       blockchain solutions.
                           Liquineq
                           Short overview - more on our website at
                           https://www.liquineq.ch
       Chief Executive Officer and CO-Founder
       2017 - Jun 2018 · 1 yr 6 mos
       Zug, Switzerland
       Liquineq is a blockchain based international startup with a patent-
       pending solution that provides a unique and powerful infrastructure and
       commercial solution for that enables cryptocurrency for the masses.
       Stay tuned.... it's going to be an interesting ride!
                            Liquineq
                            The Liquineq™ Opportunity There are elements with
                            1st and 2nd generation cryptocurrency solutions that…

       CTO
       FutureDial
       2011 - Present · 12 yrs
       San Francisco Bay Area
       The better solution...FutureDial offers a wide range of software solutions
       for mobile device and content management, device logistics and
       customization, as well as Cloud-based services and applications, as well
       as diagnostics and device fault analytics.
                          The Future Dial Solution
                          FutureDial provides leading device processing
                          solutions for the mobile device supply chain. Our…
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                         The Future Dial Solution
                         FutureDial provides leading device processing
                                                            Home My Network        Jobs   Me
                         solutions for the mobile device supply chain. Our…
                         The Future Dial Solution
                         FutureDial provides leading device processing
                         solutions for the mobile device supply chain. Our…
       President
       Lextron Systems, Inc.
       1996 - Present · 27 yrs
       - System Design and Intellectual Property consulting services
       - Devise strategy and help implement for IP extraction and IP packaging
       - Enhance system architecures for telecom, computing, software and
       Internet systems as result of IP strategy
       - Support of implementation and processing of IP in conjunction with
       counsel
       - novel, cost effective approach results in greater efficiency of IP
       processes, both patent and non patent
       Advisor
       Silicom Ventures
       2000 - Dec 2016 · 17 yrs
       Advisor on Internet, Telecom and other technologies, and IP, of course
       Advisor
       SRII Global
       Dec 2012 - Oct 2016 · 3 yrs 11 mos
       Silicon Valley, CA
       Advisor for Big Data Search and other fields of expertise
       http://thesrii.org/
       CTO
       Cimbal
       Jan 2011 - Nov 2015 · 4 yrs 11 mos
       - Very fresh approach to secure mobile payments and loyalty programs
       - Does not require special hardware on either the device nor the point of
       business
       - allows Level 3 transactions on all type of tender
       - multi tender multi vendor wallet
       - integrated loyalty programs
       IP Consultant
       Exigen Group
       Jun 2001 - Jul 2010 · 9 yrs 2 mos
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       San Francisco Bay Area
                                                             Home      My Network   Jobs   Me
       Advisor
       Twiki, Inc.
       2008 - 2010 · 2 yrs
       IP Consultant
       Genesys Telecommunications Laboratories
       1997 - 2007 · 10 yrs
       San Francsico
       Helped manage IP extraction and push into new areas in Computer
       Telephony and Call Center Management
       iSurfTV
       3 yrs 7 mos
       Chief Intellectual Property Officer
       Jul 2001 - Jul 2003 · 2 yrs 1 mo
       Create non infringment product stragey and protect resulting innovation
       in interactive television field
       CIPO
       2000 - 2003 · 3 yrs

       Consultant Technology and IP
       Mobilewise
       2000 - 2002 · 2 yrs
       Palo Alto
       Help develop new technologies and IP portfolio to cover them. Key
       approaches for Mobile wirefree power delivery, both contact and contact
       free systems.
       President & CEO
       Elonex Technologies
       1992 - 1995 · 3 yrs
       Silicon Valley
       Managed R&D group and global manufacturing with sites in
       Cumbernauld, Scotland and Hsinsu, Taiwan. Developed IP portfolio, later
       widely licensed for power management of computing systems and
       attached peripherals, as well as additional PC related enhancements.
       Developed also first sub inch color notebook in 1993 with built in primary
       power supply.
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                  People also viewed                                                      Home    My Network          Jobs   Me
                              Alex Feerer • 3rd
                              Founder Chairman of the board at GLES R&D Corp
                                    Message
                              H. John Lahlouh • 3rd+
                              CEO & Chairman of the board
                                    Message
                              Anthony Tang • 3rd+
                              Vice Chairman Of The Board at Cathay Bank
                                    Connect
                              Chairman Of the Board • 3rd+
                              Chairman Of The Board at Karate Combat
                                    Connect
                              PETER DOERKEN • 3rd
                              Chairman of the Board at DPI Retail LLC and Founder/CEO of The Peter W.
                              Doerken Foundation
                                    Connect
                                                       Show more


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                                                              Home      My Network   Jobs   Me
    Dan Kikinis                                 More           Message          Connect
    Chairman Of The Board at Liquineq AG

       Patents
Pre-boot operating environment
US 8,560,822 · Issued Oct 15, 2013
  See patent
Approaches for a pre-boot operating environment. A BIOS, executing on a
machine, is configured to execute a program prior to booting an operating system
executing on the machine. Prior to loading an operating system on the machine,
the program executes to establish a pre-boot operating environment. The pre-
boot operating environment may support the execution of one or more application
therein. The pre-boot operating environment may be a Linux-style or Unix-style
operating environment.
One or more tangible machine-readable mediums storing one or more sequences
of instructions, which when executed, cause: a EFI, executing on a machine,
providing a pre-boot operating environment that displays one or more
advertisements while the EFI loads an operating system on the machine; the EFI,
during the loading of the operating system, receiving input from a user that
indicates interest in an item in the one or more advertisements; the EFI storing
bookmark data to evidence that the user sent the input for the item; after loading
the operating system, consulting the bookmark data and providing an interface to
allow the user to purchase or license the item; the BIOS communicating with an
external server over a wireless network to determine if an update to the one or
more advertisements is available; and upon the EFI determining that the update to
the one or more advertisements is available, the EFI receiving, over the wireless
network, the update to the one or more advertisements.
Other inventors


Method and apparatus for virtual editing of multimedia presentations
US 8,527,880 · Issued Sep 3, 2013
  See patent
A method and apparatus for viewing desired portions of a multimedia
presentation. Desired portions of a multimedia presentation are determined. In
one embodiment, an editor may determine which portions of the presentation are
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desired. Alternatively, or additionally, specified criteria may be applied to the
presentation to determine the desired portions. An annotation Home file is thenMycreated
based upon the determined desired portions of the multimedia presentation.Network   The    Jobs   Me
annotation file contains pointers corresponding to the desired portions of the
multimedia presentation. Annotation management software may be use the
annotation file to cause a display device to display only desired portions of the
presentation. The annotation file may be applied to a broadcast presentation or a
recorded program file. In one embodiment the annotation file may contain
information related to the desired portions of the multimedia presentation and/or
the remainder of the multimedia presentation.
A method comprising: identifying a plurality of desired portions of a content item;
automatically creating, by a computing device having at least one processor,
annotations for the content item, wherein automatically creating the annotations
includes: storing a first identifier corresponding to a first desired portion of the
plurality of desired portions and a second identifier corresponding to a second
desired portion of the plurality of desired portions in the annotations, wherein the
first desired portion and the second desired portion are separated in the content
item by an intervening portion, and storing displayable content information
describing a non-identified portion of the content item; and generating, by the
computing device, a display of the displayable content information describing the
non-identified portion of the content item without displaying the non-identified
portion.
Other inventors


System and method for insertion of recorded media into a broadcast
US 8,522,266 · Issued Aug 27, 2013
  See patent
A system and method for prioritizing the insertion of recorded media into a
broadcast stream according to a comparison of priority indicators in the
broadcast stream and in the recorded media insertion. The recorded media
insertion may be multi-media in nature.
 A set-top box, comprising: A memory storing computer readable instructions
that, when executed, cause the set top box to: receive a broadcast stream, a
portion of the broadcast stream having a first priority indicator; receive media
separate from the broadcast stream, the media having a second priority indicator;
determine whether the first priority indicator is greater than the second priority
indicator prior to receiving a signal configured to modify the first priority indicator
from a first priority to a second priority; in response to determining that the first
priority indicator is greater than the second priority indicator, delay insertion of
the separate media into the broadcast stream until the first priority indicator is
modified; receive the signal configured to modify the first priority indicator from
the first priority to the second priority; modify the first priority indicator from the
first priority to the second priority in response to receiving the signal; determine
whether the modified first priority indicator is lower than the second priority
indicator; and replace the portion of the broadcast stream with the separate
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media in response to determining that the modified first priority indicator is lower
than the second priority indicator.                             Home My Network        Jobs   Me
Other inventors


Simulcast web page delivery
US 8,468,215 · Issued Jun 18, 2013
  See patent
A multimedia system provides program schedule information simulcast as a data
stream (e.g., HTML) including commands and displayable, selectable indicia
associated with the commands, along with programs for display. A device may be
adapted to separate the HTML data stream and to store that data in a cache as
pages (e.g., web pages) retrievable by a browser in the device, whereupon the
program schedule information is displayed including the displayable, selectable
indicia. Selecting the indicia directs the device via the associated command to
receive and display a program associated with the displayable indicia. The indicia
may be any text, icon, dynamic figurine, and the like. In one example, program
schedule pages, including the commands and displayable indicia, are stored and
marked on a server coupled to the Internet and to a scanner adapted to scan the
server for marked pages, and to upload the marked pages to a transmission
system.
A method comprising: receiving, by a computing device, programming
information for future content from one or more content sources, wherein the
programming information includes a page mark and wherein the page mark is
used to identify pages for transmission to a destination device; and identifying, by
the computing device, one or more pages specified by the page mark, wherein
the one or more pages are configured to cause the destination device to perform
one or more functions.
Method and system for 3-D enhanced advertising for TV broadcast
of 2-D video
US 8,438,594 · Issued May 7, 2013
A method and system for 3-D enhanced advertising for TV broadcast of 2-D
video is disclosed. In one embodiment, a method for providing enhanced
advertising of a 2-D video broadcast, comprises receiving the 2-D video
broadcast containing a 2-D advertisement having an image. The image is
identified within the advertisement. A matching 3-D object in an image library is
used; wherein the library comprises one or more 3-D objects. The matching 3-D
object is used to generate an advertisement, wherein the advertisement has a 3-
D highlighted rendering of the image.
Systems and methods for prevention of open loop damage during or
immediately after manufacturing
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US 8,415,552 · Issued Apr 9, 2013
  See patent                                                    Home      My Network   Jobs   Me

A solar cell having an open loop voltage that approaches a critical voltage range
when exposed to light. A circuit, connected to the solar cell, is configured to load
the solar cell when the open loop voltage of the solar cell reaches a threshold
within a predetermined range of the critical voltage range.
Other inventors


Enhanced battery storage and recovery energy systems
US 8,405,349 · Issued Mar 26, 2013
  See patent
Systems and methods are herein disclosed for efficiently and cost-effectively
balancing the voltages across batteries and/or cells in an energy storage system.
A controller monitors the battery voltages and instructs regulator circuits to
balance voltages between any batteries or sets of batteries having imbalanced
voltages. Regulator circuits implementing a modified uk converter can be utilized.
Regulator circuits can have two capacitive circuits, one inductive circuit, and two
switches. Two capacitors, an inductor, and two field effect transistors can be
used in each regulator circuit.
Other inventors
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Method and system for performing an alphabetic search
                                                  HomeusingMya Network                Jobs   Me
single application of keys
US 8,341,676 · Issued Dec 25, 2012
  See patent
A method and system for performing an alphabetic search using a single
application of keys is disclosed. In one embodiment, a method for selecting a
program title using an alpha-numeric keypad, comprises gathering one or more
searchable items from a broadcast source; generating a dynamic directory of the
one or more searchable items by a set-top box; narrowing the scope of the
dynamic directory upon receiving a narrowing command from the keypad;
receiving a partial program title from the keypad at the set-top box; returning a
list of possible selections by the set-top box, wherein the list includes the
program title; and receiving a subselector key selector signal from the keypad at
the set-top box, wherein the subselector key selector signal selects the program
title.
Universal programming system and method for EPG with localized
interactive content
US 8,132,207 · Issued Mar 6, 2012
  See patent
An EPG to display programming information in a variety of ways including using
3-D images, alphanumeric text, and video data. In addition, non-EPG objects,
such as interaction objects, may be conflated with the presentation of the world
and with the program schedule information. A communication module in the EPG
receives localized content containing multiple objects from one or more servers
coupled to a network. Users may interact with the content (e.g., buy and sell
goods and services from local franchises) through a user-interface coupled to the
EPG.
Other inventors


Telephone network interface bridge between data telephony
networks and dedicated connection telephony networks
US 8,130,749 · Issued Mar 6, 2012
  See patent
A computerized telephony bridge unit has a Data Network Telephony (DNT) Port
and a Connection Oriented/Switched Telephony (COST) trunk port, each
associated with circuitry for receiving a placing calls in the data format required
by connected networks. The bridge unit further comprises conversion circuitry for
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converting data dynamically between network protocols compatible with each
connected network. Control routines executable on the computerized
                                                                 Home bridge       unit
                                                                            My Network    Jobs   Me
are adapted to receive a first call from one of the COST and DNT networks, to
place a call associated with the received call on the network other than the
network on which the call is received, and to dynamically convert data between a
call connected at one port and a call connected at the other port. The data
network can be the Internet, and the COST network can be any publicly or
privately switched dedicated-connection-oriented telephone network.
Association between calls between two otherwise incompatible networks can be
by a locally-stored lookup table, by negotiation with a caller, or by retrieval of
data from incoming calls. Methods for practicing the invention are taught in the
disclosure.
Method and system for identifying addressing data within a television
presentation
US 8,130,320 · Issued Mar 6, 2012
  See patent
Characters represented within a frame of a television presentation are identified.
A pattern formed by a subset of the characters is identified if the pattern is
indicative of an addressing datum. A provision is made for a selection of
characters that form the pattern indicative of the addressing datum. In one
embodiment, a web page is displayed upon a selection of characters that form a
pattern indicative of a uniform resource locator for the web page.
Simulcast web page delivery
US 8,108,487 · Issued Jan 31, 2012
  See patent
A multimedia broadcast system provides program schedule information simulcast
as a Hyper Text Markup Language (HTML) data stream including commands and
displayable, selectable indicia associated with the commands, along with
programs for display. A set top box is adapted to separate the HTML data stream
and to store that data in a cache as WEB pages retrievable by a WEB browser in
the set top box, whereupon the program schedule information is displayed
including the displayable, selectable indicia. Selecting the indicia directs the set
top box via the associated command to tune to a program associated with the
displayable indicia. The indicia may be any text, icon, dynamic figurine, and the
like. In a preferred embodiment program schedule WEB pages, including the
commands and displayable indicia, are stored especially marked on a WEB server
coupled to the Internet and to a scanner adapted to scan the WEB server for
marked pages, and to upload the marked pages to a satellite broadcast system.
Universal programming system and method for electronic
programming guide
US 8,104,061 · Issued Jan 24, 2012
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  See patent                                                    Home      My Network   Jobs   Me
An EPG displays programming information in a variety of ways including using 3-
D images, alphanumeric text, and video data. A presentation engine allows
viewers and/or programmers to select between varying programming worlds. In
addition, non-EPG objects, such as interaction objects, may be conflated with the
presentation of the world and with the program schedule information.
Method and apparatus for virtual editing of multimedia presentations
US 8,078,967 · Issued Dec 13, 2011
  See patent
A method and apparatus for viewing desired portions of a multimedia
presentation. Desired portions of a multimedia presentation are determined. In
one embodiment, an editor may determine which portions of the presentation are
desired. Alternatively, or additionally, specified criteria may be applied to the
presentation to determine the desired portions. An annotation file is then created
based upon the determine desired portions of the multimedia presentation. The
annotation file contains pointers corresponding to the desired potions of the
multimedia presentation. Annotation management software may use the
annotation file to cause a display device to display only desired portions of the
multimedia presentation. The annotation file may be applied to a broadcast
presentation or a recorded program file. In one embodiment the annotation file
may contain information related to the desired portions of the multimedia
presentation and/or the remainder of the multimedia presentation.
System and method for prevention of open loop damage during or
immediately after manufacturing
US 8,039,730 · Issued Oct 18, 2011
  See patent
A solar cell having an open loop voltage that approaches a critical voltage range
when exposed to light. A circuit, connected to the solar cell, is configured to load
the solar cell when the open loop voltage of the solar cell reaches a threshold
within a predetermined range of the critical voltage range.
Other inventors


Using XML expressed primitives for platform and system-
independent call modeling
US 8,018,921 · Issued Sep 13, 2011
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  See patent                                                     Home      My Network   Jobs   Me
A system for providing third-party call control in a telecommunications
environment is provided. The system comprises, a call-control mechanism for
providing service logic and routing intelligence, a control application for providing
service-logic description and command instruction for implementing third-party
controlled call connections, a call-switching mechanism for providing an abstract
state of switching matrix and for commutation of external and internal call legs
and a commutation application for making and breaking call connections
according to commands sent from the control application. The call-control
mechanism, using the control application, sends primitive text commands to the
call-switching mechanism, which utilizing the commutation application, receives,
reads and implements the text commands containing all of the service logic and
instructions required to successfully construct call connections and wherein the
call-switching mechanism by virtue of the commutation application sends
notification of success or failure regarding implementation of received commands
back to the control application.
Other inventors


System for facilitating parallel data transfer from a wireless caller
into a communications center
US 8,010,092 · Issued Aug 30, 2011
  See patent
A system for identifying and interacting with callers has: a telephone switch for
receiving and distributing incoming calls; a messaging server for sending or
receiving messages and attachments; and, a software routine for identifying
wireless callers and for matching them to messages in the messaging server. The
system is characterized in that upon receiving a call the system attempts to
identify the call to a caller and of the caller is not already known in the system or
identified an automated message is generated and sent to the caller asking for
the desired information. In one embodiment the caller sends a message when the
call is placed to optimize identification.
Other inventors


Perpendicular view three dimensional electronic programming guide
US 7,975,399 · Issued Jul 12, 2011
  See patent
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A method and apparatus of displaying an Electronic Programming Guide (EPG). In
one embodiment, an EPG is constructed of a three dimensionalHome              My Network
                                                                     virtual mesh, in      Jobs   Me
which independent objects representing television programs are situated. The
virtual mesh is displayed perpendicularly, so that the hardware requirements of
the set top box (STB) may be reduced. A user can navigate the mesh to find
television programs that they wish to view. A user can designate the types of
television programs that they prefer, and these programs will be displayed more
prominently. In addition, the mesh is constructed of at least two planes. The first
plane is flat, while all other planes are hyperbolic to correct for a viewer's line of
sight.
Methods and apparatus for enhancing wireless data network
telephony including a personal router in a client
US 7,965,742 · Issued Jun 21, 2011
  See patent
A data network telephony (DNT) wireless communication system has a base
station connected to a DNT-capable data network and to a plurality of wireless
transceivers, each transceiver transmitting to a distinct area, the base station
adapted to operate the transceivers by a two-way, narrow-band, multiple-
channel, real-time duplex radio protocol, and a plurality of portable computer-
enhanced client communicator units, including microphone and speaker
apparatus, each assigned a unique address and adapted to communicate with the
base station via the transceivers by the two-way real-time radio protocol and to
process DNT calls. The wireless system operates as a carrier-sense multiple
access system with collision detection (CSMA/CD).
Customer self service in interactive TV environment for TV
programming packages
US 7,958,533 · Issued Jun 7, 2011
  See patent
Method and system for enabling users to perform self-service operations in
interactive TV environments. In one embodiment, the method enables users to
select and activate programming packages via a set-top box, thereby eliminating
the need for the users to have to call a call center to activate the unit. Using a set
of interactive screens, the user is enabled to view various programming package
information, including comparative information. In one embodiment, the method
assists users who are moving to activate/reactive broadcast services. For
example, options are provided to enable the user to schedule service work,
disconnect and activate services, and other activities connected with the move.
In another embodiment, the method enables a user to select a programming
package based on packages that are recommended by the system. Historic
usage patterns, including viewing habits and attempts to access unavailable
content are analyzed to determine which programming packages should be
recommended for the user.
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Other inventors
                                                               Home      My Network    Jobs   Me


Enhanced home entertainment system with removable long-term
storage
US 7,886,330 · Issued Feb 8, 2011
  See patent
A method and apparatus for set top box (STB) receiving a single selection or
actuation, and in response to a single selection from a user, transferring a
program and auxiliary data related to the program from a first storage device of
the STB to a removable storage device.
Apparatuses and methods to reduce safety risks associated with
photovoltaic systems
US 7,884,278 · Issued Feb 8, 2011
  See patent
Apparatuses and methods to reduce safety risks associated with photovoltaic
systems by providing a safety switch on a photovoltaic panel. In one embodiment,
a photovoltaic panel includes: at least one photovoltaic cell; a connector to output
energy from the photovoltaic panel; and a switch coupled between the at least
one photovoltaic cell and the connector. The switch is configured to disconnect
the at least one photovoltaic cell from the connector during installation of the
photovoltaic panel, and to connect the at least one photovoltaic cell with the
connector after installation of the photovoltaic panel.
Other inventors


ystem for controlling processing of data passing through network
gateway between two disparate communications networks
US RE42,042 · Issued Jan 18, 2011
  See patent
A control system is provided for controlling the aspects of data conversion and
routing of data passing between two disparate communications networks. The
system operates from a network-connected computer node running a software
application. The computer node acquires the data protocol associated with the
data en-route from one network to another and using the software application,
formulates the required conversion commands and routing instructions based on
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information provided by the protocol signal. The generated commands are routed
to the appropriate conversion nodes through which the data willHome
                                                                 pass intoMytheNetwork   Jobs   Me
next network. The conversion nodes apply the commands routed to them by the
computer node to the appropriate data passing through the nodes. In one
application, the control system combines the total hardware and software
functions of the computer node and the conversion nodes and is provided to
operate from one network-connected node.
Methods and apparatus for enhancing wireless data network
telephony, including quality of service monitoring and control
US 7,852,830 · Issued Dec 14, 2010
  See patent
A system for wireless communication comprises an architecture of routers
connected to a network and having connected transceivers for wireless
transmission and reception of data, and a plurality of hand-held communicators
adapted for users to communicate with the network through the routers. The
system is adapted to provide wireless Data Network Telephony (DNT), and the
hand-held communicators execute Quality of Service (QoS) code adapted to
prioritize DNT packet code over all non-DNT traffic, thereby preserving the real-
time nature of the DNT code.
Simulcast web page delivery
UG 7,836,149 · Issued Nov 16, 2010
  See patent
A multimedia broadcast system provides program schedule information simulcast
as a Hyper Text Markup Language (HTML) data stream including commands and
displayable, selectable indicia associated with the commands, along with
programs for display. A set top box is adapted to separate the HTML data stream
and to store that data in a cache as WEB pages retrievable by a WEB browser in
the set top box, whereupon the program schedule information is displayed
including the displayable, selectable indicia. Selecting the indicia directs the set
top box via the associated command to tune to a program associated with the
displayable indicia. The indicia may be any text, icon, dynamic figurine, and the
like. In a preferred embodiment program schedule WEB pages, including the
commands and displayable indicia, are stored especially marked on a WEB server
coupled to the Internet and to a scanner adapted to scan the WEB server for
marked pages, and to upload the marked pages to a satellite broadcast system.
Apparatuses and methods to reduce safety risks associated with
photovoltaic systems
US 7,807,919 · Issued Oct 5, 2010
  See patent
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Apparatuses and methods to reduce safety risks associated with photovoltaic
systems by providing a safety switch on a photovoltaic panel. InHome       My Network
                                                                   one embodiment,      Jobs   Me
a photovoltaic panel includes: at least one photovoltaic cell; a connector to output
energy from the photovoltaic panel; and a switch coupled between the at least
one photovoltaic cell and the connector. The switch is configured to disconnect
the at least one photovoltaic cell from the connector during installation of the
photovoltaic panel, and to connect the at least one photovoltaic cell with the
connector after installation of the photovoltaic panel.
Other inventors


System for distributing VXML capabilities for execution on client
devices
US 7,792,254 · Issued Sep 7, 2010
  See patent
A system for interacting with voice extensible markup language application
content includes a content source node connected to a network for rendering
availability of voice extensible markup language content and code; a
communication device connected to the network for acquiring at least the code
rendered available; and a software interface running on the communication
device for determining local existence of at least the code acquired and
initializing execution of found code. Upon code execution, the content may be
played on the communication device without a persistent network connection to
the enterprise hosting the content.
Other inventors
             +2

E-mail client with programmable address attributes
US 7,716,292 · Issued May 11, 2010
  See patent
An e-mail processing application executable on a computer station having a video
display unit (VDU) searches a received e-mail for one or more words, phrases,
and addresses for comparison with stored words, phrases and addresses in a
stored table, and upon finding a match in the stored table, inserts one or more of
words, phrases, or addresses associated in the stored table with the words,
phrases or addresses from the received e-mail in any reply to the received e-mail.
In a preferred embodiment a "send to" address in a received e-mail triggers
automatically one or both of a particular "from" and "reply to" address in any
response to the received e-mail. In an alternative embodiment, a "send to"
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address in a received e-mail, as a result of a table look-up, automatically prepares
and sends a new e-mail identical to the received e-mail exceptHomefor a newMy"send
to" address retrieved from the stored table. In alternative embodiments theNetwork       Jobs   Me
application simply provides variable fields in a reply window for a user to enter
variable "from" and "reply to" addresses.
Customer self service in interactive TV environment for TV
programming
US 7,703,119 · Issued Apr 20, 2010
  See patent
Method and system for enabling users to perform self-service operations in
interactive TV environments. In one embodiment, the method enables users to
select and activate programming packages via a set-top box, thereby eliminating
the need for the users to have to call a call center to activate the unit. Using a set
of interactive screens, the user is enabled to view various programming package
information, including comparative information. In one embodiment, the method
assists users who are moving to activate/reactive broadcast services. For
example, options are provided to enable the user to schedule service work,
disconnect and activate services, and other activities connected with the move.
In another embodiment, the method enables a user to select a programming
package based on packages that are recommended by the system. Historic
usage patterns, including viewing habits and attempts to access unavailable
content are analyzed to determine which programming packages should be
recommended for the user.
Other inventors


Method and apparatus for notifying users of interactive functions
using a remote device
US 7,698,727 · Issued Apr 13, 2010
  See patent
A method and apparatus for notifying a user of an interactive event using a
remote control device. In one embodiment, a remote control device contains
either a display or a bright light, or both, which can create a visual alert to let a
user know that an interactive function is available. The nature of the function may
be displayed on a screen attached to the remote control device.
Other inventors


Three dimensional light electronic programming guide
Case 1:23-cv-00822-ADA Document 27-9 Filed 12/22/22 Page 21 of 67
US 7,610,552 · Issued Oct 27, 2009
  See patent                                                  Home      My Network   Jobs   Me

A method and apparatus of displaying an Electronic Programming Guide (EPG). In
one embodiment, an EPG is displayed in a three dimensional virtual mesh, in
which independent objects representing television programs are situated. The
simplified nature of the three dimensional EPG reduces the amount of processing
necessary to display it. In addition, the virtual mesh may be displayed
isometrically, so that hardware requirements are further reduced and it may be
possible to use a software only three dimensional graphics pipeline. If a user has
a set top box (STB) with a hardware accelerated graphics pipeline, the EPG may
be displayed in a full three dimensional perspective view. A user can navigate the
mesh to find television programs that they wish to view. A user can assign values
to types of television programs that they prefer, and these programs will be
displayed more prominently.
Simplified-file hyper text protocol
US 7,562,157 · Issued Jul 14, 2009
  See patent
A system is provided wherein relatively low-end computers, such as portable,
battery-powered computers ordinarily incapable of sophisticated Internet
browsing functions may be used to browse the Internet. The enhanced computing
ability for such portables is provided by a unique Internet server adapted for
transposing data files to alternative, low-information-density form, preferably
comprising simplified or single files suitable for rapid processing and display by
connected portable and other low-end computers In embodiments wherein
batter-powered field units are used, battery life is exhibited far beyond what
would be expected for a battery-powered computer with computing power for
browsing the Internet directly. In some embodiments of the invention adapted
files are saved and identified for future use in communicating with specific
devices over Internet connections.
Embedded WEB phone module
US 7,522,582 · Issued Apr 21, 2009
  See patent
A system for enabling Data Network Telephony (DNT) communication through a
WEB page includes a Web server hosting an interactive WEB page and having an
Internet port, a link in the WEB page adapted for launching a DNT-capable
telephone module, and a DNT-capable telephone module associated with the link.
In this system, upon selection of the link by a person accessing the WEB page
over the Internet using a computer platform, an instance of the IP telephone
module is downloaded to computer platform, and an IP call is launched to an IP
address pre-stored and associated with the link. The DNT network may be the
Internet. In a preferred embodiment the system first investigates the computer
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platform for hardware and software characteristics, and attaches the determined
characteristics to the instance of the IP telephone module to beHome
                                                                 downloaded. The
                                                                        My Network    Jobs   Me
downloaded module then self-launches and configures, and then launches the
associated call. In some embodiments the module disappears after a single call,
and thus serves as an instant enabler for IP telephony.
Universal programming system and method for electronic
programming guide
US 7,516,469 · Issued Apr 7, 2009
  See patent
An EPG displays programming information in a variety of ways including using 3-
D images, alphanumeric text, and video data. A presentation engine allows
viewers and/or programmers to select between varying programming worlds. In
addition, non-EPG objects, such as interaction objects, may be conflated with the
presentation of the world and with the program schedule information.
Networking integration of wire-free electric power surface
US 7,474,875 · Issued Jan 6, 2009
  See patent
An apparatus including surface that includes a set of contact points, the surface
to provide a medium to transmit data between a first device in contact with one or
more contact points of the surface, and a second device in contact with one or
more contact points of the surface. In one embodiment, the surface is to provide
a medium to non-aerial wirelessly transmit data between the first and second
device. In one embodiment, at least one of the first and second devices are
exclusive of aerial wireless data transmission capabilities. In one embodiment, the
surface is to provide a medium to transmit data between the device and a third
device separated from the surface.
Other inventors


Method and system for identifying addressing data within a television
presentation
US 7,456,902 · Issued Nov 25, 2008
  See patent
Characters represented within a frame of a television presentation are identified.
A pattern formed by a subset of the characters is identified if the pattern is
indicative of an addressing datum. A provision is made for a selection of
characters that form the pattern indicative of the addressing datum. In one
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embodiment, a web page is displayed upon a selection of characters that form a
pattern indicative of an uniform resource locator for the web page.
                                                               Home My Network          Jobs   Me
Method and system for enabling visitors to subscribe to currently-
viewed programming package
US 7,412,716 · Issued Aug 12, 2008
  See patent
Methods and systems for enabling users visiting a friend or family member to
subscribe to a TV programming package that the friend or family member
currently subscribes to. In one embodiment, the method includes generating a
user-interface (UI) via the friend's set-top box to enable entry of visitor user
identification information. This information, along with programming identification
information is then sent to the service provider for the programming package.
The service provider retrieves or generates information by which a UI may be
generated to easily enable the visitor to setup and activate the programming
package and sends it to the visitor's home set-top box. In another embodiment,
programming package identification information is stored on a portable storage
medium and carried to the visitor's home set-top box, where it is read to retrieve
the identification information. The information is then sent to the service provider,
which sends back appropriate data to generate the UI.
Other inventors


Customizable media player with online/offline capabilities
US 7,412,484 · Issued Aug 12, 2008
  See patent
An information dissemination system comprises an Internet-connected server
adapted for gathering information from plural sources, and sorting the
information according to subscriber preferences. The sorted information is
transmitted via the Internet to a subscriber's Internet Appliance (IA) as electronic
documents, where the documents are downloaded to a connected playback
device. The playback device may be disconnected from the PC, and the
information electronic documents rendered as speech to a speaker in the
playback device by a text-to-speech system. In a preferred embodiment
annotation is added at the Internet-connected server to control speech
characteristics, such as inflection, upon playback. In some embodiments updates
may be made by radio with the playback device disconnected from the IA.
Wirefree mobile device power supply method & system with free
positioning
US 7,399,202 · Issued Jul 15, 2008
  See patent
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The invention provides an electrical coupling device. The coupling includes a
                                                                 Homean electrical
contactor device and a plurality of electrical contacts which close        My Network   Jobs   Me
circuit between the contactor device and an adaptor device when the adaptor
device is brought into physical contact with the contactor device, there being no
need for aligning for the electrical contacts of the contactor device with electrical
contact of the adaptor device.
Other inventors


Alternative wirefree mobile device power supply method and system
with free positioning
US 7,392,068 · Issued Jun 24, 2008
  See patent
The invention provides a power delivery system for a mobile device. The power
delivery system includes a contactor device and a plurality of first electrical
contacts on the contactor device disposed in an interspersed arrangement
wherein first electrical contacts of one polarity are interspersed with first
electrical contacts of a second polarity throughout the contactor body.
Other inventors


Method and system for inserting a new channel into a list of preferred
channels
US 7,389,523 · Issued Jun 17, 2008
  See patent
A first set of channels is provided. The first set of channels is selected based on a
predetermined criteria related to a viewing preference of a viewer. A first channel
not selected based on the predetermined criteria related to the viewing
preference of the viewer is inserted into the first set of channels. In one
embodiment, a system operator inserts the first channel into the first set of
channels. In one embodiment, insertion is disallowed if a number of channels not
selected based on the predetermined criteria related to the viewing preference of
the viewer that have been inserted into the first set of channels is greater than a
predetermined number.
Freezing live video frames with interactive links
US 7,386,875 · Issued Jun 10, 2008
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  See patent                                                    Home      My Network   Jobs   Me
An embodiment of the present invention allows a user to maintain the display of a
video frame containing one or more interactive links while also maintaining access
to the links. Thus allowing the user to select and examine any desired links at his
own pace. For one embodiment, the display of a video frame is maintained by
interrupting the refreshing of the frame buffer and the interactive link stream.
Interrupting both the frame buffer refresh and the interactive link stream refresh
results in the frame being "frozen" along with its associated links. For one
embodiment, pressing a button on a control device effects the interruption of the
frame buffer refresh and the interactive link refresh. The button may toggle to
resume the video display. Alternatively, or additionally, the video display may
resume if no action is taken in regard to the interactive links within an specified
time.
System, apparatus, and method for configuring a packet switched
network appliance to have access to a packet switched network
US 7,379,986 · Issued May 27, 2008
  See patent
A network server is adapted to connect on the network with Internet appliances,
and to fully configure such appliances over a network connection to access and
operate on the Internet. In a preferred embodiment the appliances have first
control routines adapted to cooperate with second routines at the server, and
also a network address for connection. An initiation signal by a user at a network-
connected appliance launches the first routines, causing the appliance to invoke
the network address and to establish network communication with the server and
to initiate configuration interaction. In some cases special telephone numbers are
provided with new appliances, and the dial-up server, through Destination
Number Information Service (DNIS) uses the dial-up number in conjunction with a
data repository to select appropriate software for interfacing with and configuring
a connecting appliance. A full range of services may be provided, including value-
added services, such a browsers and browser configuration.
Method and apparatus for providing an interactive home agent with
access to call center functionality and resources
US 7,372,956 · Issued May 13, 2008
  See patent
A call center system supports remote agent stations through a network by
establishing a data link between a computer platform at the remote agent station
and a CTI-processor connected to a telephony switch at the call center, and
switching incoming calls from the call center to a telephone at the remote agent
station while sending data pertaining to the calls via the data link to the computer
platform at the remote agent station to be displayed. Data pertaining to calls is
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retrieved from a data base at the call center and sent via the data link to be
displayed on a video display at the remote agent station. The data
                                                                 Homecan include
                                                                           My Network   Jobs   Me
scripts for an agent at the remote station. Call center services are supported    by
cooperation between software at the CTI processor and the computer platform at
the remote station. In one embodiment the data link, once established, is kept
open while calls continue to be switched to the remote station. In another, after
an initial log in, dial up is done from the remote station upon detecting calls from
the call center by a TAPI compliant device, and a reduced log in is performed at
the CTI processor to save time. In a third alternative, the CTI processor, via a
modem bank adapted for dialing, establishes the data connection each time a call
is switched from the call center to the remote station. A plurality of remote
stations  may be thus supported.
Other inventors


Simulcast web page delivery
US 7,349,975 · Issued Mar 25, 2008
  See patent
A multimedia broadcast system provides program schedule information simulcast
as a Hyper Text Markup Language (HTML) data stream including commands and
displayable, selectable indicia associated with the commands, along with
programs for display. A set top box is adapted to separate the HTML data stream
and to store that data in a cache as WEB pages retrievable by a WEB browser in
the set top box, whereupon the program schedule information is displayed
including the displayable, selectable indicia. Selecting the indicia directs the set
top box via the associated command to tune to a program associated with the
displayable indicia. The indicia may be any text, icon, dynamic figurine, and the
like. In a preferred embodiment program schedule WEB pages, including the
commands and displayable indicia, are stored especially marked on a WEB server
coupled to the Internet and to a scanner adapted to scan the WEB server for
marked pages, and to upload the marked pages to a satellite broadcast system.
Three dimensional light electronic programming guide
US 7,322,009 · Issued Jan 22, 2008
  See patent
A method and apparatus of displaying an Electronic Programming Guide (EPG). In
one embodiment, an EPG is displayed in a three dimensional virtual mesh, in
which independent objects representing television programs are situated. The
simplified nature of the three dimensional EPG reduces the amount of processing
necessary to display it. In addition, the virtual mesh may be displayed
isometrically, so that hardware requirements are further reduced and it may be
possible to use a software only three dimensional graphics pipeline. If a user has
a set top box (STB) with a hardware accelerated graphics pipeline, the EPG may
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be displayed in a full three dimensional perspective view. A user can navigate the
mesh to find television programs that they wish to view. A userHome
                                                                can assignMyvalues
to types of television programs that they prefer, and these programs will beNetwork   Jobs   Me
displayed more prominently.
System and method for consolidated shipping and receiving using
reusable containers
US 7,277,866 · Issued Oct 2, 2007
  See patent
Products are delivered to customers using reusable containers. The reusable
containers are equipped with a radio frequency identification (RFID) tag that is
used by the vendor or deliverer to track whether the reusable container has been
returned to the vendor or deliverer. The user can be credited with a deposit if he
or she returns the container. The RFID can also be used to track the contents of a
truck load or pallet load of containers.
Other inventors


Method and apparatus for finding the same of similar shows
US 7,213,256 · Issued May 1, 2007
  See patent
A method and apparatus providing for expanded search functionality in an
electronic program guide (EPG) for television is described. The expanded search
function finds show titles that are the same or similar to the show title of the
program data currently displayed by the EPG. The expanded search function also
finds shows similar to the one currently displayed by the EPG by using additional
search elements based on the descriptive part of the EPG program data, such as
actors, director, genre, etc., as well as search parameters based on the show
time, channel, etc. Rather than only finding exact matches, the expanded search
function uses fuzzy logic to find near matches and prioritizes the results
according to the search elements and parameters as specified by the viewer.
Embedded WEB phone module
US 7,190,692 · Issued Mar 13, 2007
  See patent
A system for enabling Data Network Telephony (DNT) communication through a
WEB page includes a Web server hosting an interactive WEB page and having an
Internet port, a link in the WEB page adapted for launching a DNT-capable
telephone module, and a DNT-capable telephone module associated with the link.
In this system, upon selection of the link by a person accessing the WEB page
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over the Internet using a computer platform, an instance of the IP telephone
module is downloaded to computer platform, and an IP call is launched
                                                               Home toMyanNetwork
                                                                             IP      Jobs   Me
address pre-stored and associated with the link. The DNT network may be the
Internet. In a preferred embodiment the system first investigates the computer
platform for hardware and software characteristics, and attaches the determined
characteristics to the instance of the IP telephone module to be downloaded. The
downloaded module then self-launches and configures, and then launches the
associated call. In some embodiments the module disappears after a single call,
and thus serves as an instant enabler for IP telephony.
Other inventors


Enhanced weather and traffic information from mobile
communication devices
US 7,155,198 · Issued Dec 26, 2006
  See patent
A network based information system has a server or other source management
system connected to the network and to an information database, and a portable
communication device enabled to access the server on the network by keypad
entry, and to indicate geographic position upon access. The system is
characterized in that the keypad is graphically mapped for direction, and the
server, in response to a call placed from the portable communication device,
including keypad input indicating direction, accesses the database for information
associated with the geographic position and the direction, and transmits that
information to the portable communication device. Other criteria, such as
distance and information type may also be mapped and used in retrieving
information. In the case of voice-capable devices, information is rendered as
speech to be transmitted to the communication device.
Integrating SIP control messaging into existing communication
center routing infrastructure
US 7,120,141 · Issued Oct 10, 2006
  See patent
A software suite is disclosed for routing communication events over a data-
packet-network using an IP session initiation and management protocol. The
software suite comprises, a server application running on the network for
computing and serving routing determinations per request, a session
management application running on the network for initiating and managing
routed and established session events, a parsing application running on the
network for parsing request data received under session initiation protocol and a
conversion application running on the network for converting data received under
session initiation protocol into a routing request. All received communication
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requests for routing are in the form of the session initiation protocol wherein they
are parsed and converted into routing requests processed by the      server My Network
                                                                  Home                   Jobs   Me
application and routed to determined destinations and wherein events are
established as session events conducted under the session initiation and
management protocol.
Method and system for localized advertising using localized 3-D
templates
US 7,113,187 · Issued Sep 26, 2006
  See patent
A method and system for localized advertising using localized 3-D templates is
disclosed. In one embodiment, a method for providing enhanced advertising of a
2-D video broadcast, comprises receiving the 2-D video broadcast, wherein the
2-D video broadcast comprises a 2-D advertisement containing a 2-D image, and
one or more 3-D shapes of text; generating a 3-D highlighted image from the 2-D
image; applying the 3-D shapes of text to the 3-D highlighted image to generate
a localized 3-D highlighted image; and displaying the localized 3-D highlighted
image to a specific viewer.
Cursor control system
US 7,057,670 · Issued Jun 6, 2006
  See patent
A method and apparatus for a novel cursor control system is disclosed. In one
embodiment, the invention is a method of manipulating a cursor on a tv screen
utilizing a wireless remote control. The method includes detecting a location on
the screen pointed to by the remote control. The method also includes
Transmitting the location to a set-top box.
E-mail client with programmable address attributes
US 7,035,905 · Issued Apr 25, 2006
  See patent
An e-mail processing application executable on a computer station having a video
display unit (VDU) searches a received e-mail for one or more words, phrases,
and addresses for comparison with stored words, phrases and addresses in a
stored table, and upon finding a match in the stored table, inserts one or more of
words, phrases, or addresses associated in the stored table with the words,
phrases or addresses from the received e-mail in any reply to the received e-mail.
In a preferred embodiment a "send to" address in a received e-mail triggers
automatically one or both of a particular "from" and "reply to" address in any
response to the received e-mail. In an alternative embodiment, a "send to"
address in a received e-mail, as a result of a table look-up, automatically prepares
and sends a new e-mail identical to the received e-mail except for a new "send
to" address retrieved from the stored table. In alternative embodiments the
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application simply provides variable fields in a reply window for a user to enter
variable "from" and "reply to" addresses.                       Home My Network        Jobs   Me
Integrated network switching hub and bus structure
US 7,020,735 · Issued Mar 28, 2006
  See patent
A network switching hub is implemented on an IC chip, and has a bus connected
to external ports through sets of queue switch transistors, source to drain for
data switched onto the bus, the queue switch transistors gated simultaneously by
control lines from an on-board arbitrator controller following a preprogrammed
arbitration scheme. Data is switched off the bus and hub by port adapter
controllers connected to read amplifier receivers connected directly to the on-
chip bus, the port adapter controllers enabled by the arbitrator controller
following the same preprogrammed arbitration scheme. Ports may be serial or
parallel, and may be adapted to special purposes, such as PCI and hub to hub
connection for expansion.
Management of data before zero volt suspend in computer power
management
US 7,013,397 · Issued Mar 14, 2006
  See patent
A power management system for computers compresses contents of system
RAM and stores the contents on a non-volatile storage device before power is
suspended to a motherboard, which removes power also from RAM. By
compression, the capacity required of the non-volatile storage device is
minimized. In a variation, zeros are stored in all RAM area used by memory
management software before compression and storage on the non-volatile
device. In another variation, areas of RAM used by memory management software
are identified, and only those areas not used by memory management software
are stored on the non-volatile device. The capability is provided in several ways in
different embodiments.
Other inventors


System and method for amalgamating multiple shipping companies
using reusable containers and wide area networks
US 6,988,079 · Issued Jan 17, 2006
  See patent
A system and method for delivering packages using a vehicle such as a truck. The
packages contain RFIDs that can be electronically queried when the truck is at a
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destination. A computer communicates to the driver which packages are to be
provided at the destination, and the RFIDs can be electronicallyHome
                                                                  queried My
                                                                          so that
the driver can identify those packages. The truck can have an RFID affixed Network      Jobs   Me
thereto, so that when the driver arrives at the destination, a computer system is
informed and can communicate said instructions to the driver. The instructions
can be generated using a data base at a remote location coupled to a system
within the truck (or within the destination).
Other inventors


Using XML expressed primitives for platform and system-
independent call modeling
US 6,985,478 · Issued Jan 10, 2006
  See patent
A system for providing third-party call control in a telecommunications
environment is provided. The system comprises, a call-control mechanism for
providing service logic and routing intelligence, a control application for providing
service-logic description and command instruction for implementing third-party
controlled call connections, a call-switching mechanism for providing an abstract
state of switching matrix and for commutation of external and internal call legs
and a commutation application for making and breaking call connections
according to commands sent from the control application. The call-control
mechanism, using the control application, sends primitive text commands to the
call-switching mechanism, which utilizing the commutation application, receives,
reads and implements the text commands containing all of the service logic and
instructions required to successfully construct call connections and wherein the
call-switching mechanism by virtue of the commutation application sends
notification of success or failure regarding implementation of received commands
back to the control application.
Other inventors


Electronic document answering machine
US 6,973,167 · Issued Dec 6, 2005
  See patent
An Electronic Document Answering Machine is adapted to connect to remote
information sources and to download digital documents including e-mail and WEB
pages, and to store the documents for later review by a user. The Answering
machine has an alert device for alerting a user that new documents are available
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for review, and an initializing device for a user to cause documents to be
communicated for review one-at-a-time. In a preferred embodimentHome documents
                                                                          My Network    Jobs   Me
are communicated over a speaker via voice synthesis. In an alternative preferred
embodiment a small display is provided wherein documents may be displayed in
alphanumeric characters. The answering machine can be implemented as a
stand-alone device or can be connected via a serial port to a host PC for
transferring documents to the PC for processing and review. In other
embodiments the Answering Machine is implemented as a system in a PC, with
alert and selective input added as an interface. The interface can be in a
keyboard, and can be provided by existing keys and LEDs on a keyboard. An
Answering Machine is also provided as a set-top-box for a TV, downloading
digital documents from the Internet and providing the documents with user
prompting to a TV via an audio/video output. prompting may be by infrared input
from a remote controller.
Method and system for implementing an electronic program guide
using partitioned memory and partial titles
US 6,944,741 · Issued Sep 13, 2005
  See patent
In one embodiment, there is provided a method for storing program information in
a memory associated with an electronic program guide system. The method
comprises partitioning the memory into two areas, wherein a first of said areas is
structured to hold records of a first type, each comprising a first subset of
information about a program including a partial title therefor, and wherein a
second of said areas is structured to hold records of a second type, each
comprising a second subset of information about the program; and linking
records of the first and second type through a common field.
Other inventors


Wirefree mobile device power supply method & system with free
positioning
US 6,913,477 · Issued Jul 5, 2005
  See patent
The invention provides an electrical coupling device. The coupling includes a
contactor device and a plurality of electrical contacts which close an electrical
circuit between the contactor device and an adaptor device when the adaptor
device is brought into physical contact with the contactor device, there being no
need for aligning for the electrical contacts of the contactor device with electrical
contact of the adaptor device.
Case 1:23-cv-00822-ADA Document 27-9 Filed 12/22/22 Page 33 of 67

Other inventors
                                                              Home      My Network   Jobs   Me


Three dimensional light electronic programming guide
US 6,836,274 · Issued Dec 28, 2004
  See patent
A method and apparatus of displaying an Electronic Programming Guide (EPG). In
one embodiment, an EPG is displayed in a three dimensional virtual mesh, in
which independent objects representing television programs are situated. The
simplified nature of the three dimensional EPG reduces the amount of processing
necessary to display it. In addition, the virtual mesh may be displayed
isometrically, so that hardware requirements are further reduced and it may be
possible to use a software only three dimensional graphics pipeline. If a user has
a set top box (STB) with a hardware accelerated graphics pipeline, the EPG may
be displayed in a full three dimensional perspective view. A user can navigate the
mesh to find television programs that they wish to view. A user can assign values
to types of television programs that they prefer, and these programs will be
displayed more prominently.

Methods and apparatus for enhancing wireless data network
telephony, including quality of service monitoring and control
US 6,795,406 · Issued Sep 21, 2004
  See patent
A system for wireless communication comprises an architecture of routers
connected to a network and having connected transceivers for wireless
transmission and reception of data, and a plurality of hand-held communicators
adapted for users to communicate with the network through the routers. The
system is adapted to provide wireless Data Network Telephony (DNT), and the
hand-held communicators execute Quality of Service (QoS) code adapted to
prioritize DNT packet code over all non-DNT traffic, thereby preserving the real-
time nature of the DNT code.

E-mail client with programmable address attributes
US 6,785,710 · Issued Aug 31, 2004
  See patent
An e-mail processing application executable on a computer station having a video
display unit (VDU) searches a received e-mail for one or more words, phrases,
and addresses for comparison with stored words, phrases and addresses in a
Case 1:23-cv-00822-ADA Document 27-9 Filed 12/22/22 Page 34 of 67
stored table, and upon finding a match in the stored table, inserts one or more of
words, phrases, or addresses associated in the stored table with   the words,
                                                                 Home      My Network    Jobs   Me
phrases or addresses from the received e-mail in any reply to the received    e-mail.
In a preferred embodiment a "send to" address in a received e-mail triggers
automatically one or both of a particular "from" and "reply to" address in any
response to the received e-mail. In an alternative embodiment, a "send to"
address in a received e-mail, as a result of a table look-up, automatically prepares
and sends a new e-mail identical to the received e-mail except for a new "send
to" address retrieved from the stored table. In alternative embodiments the
application simply provides variable fields in a reply window for a user to enter
variable "from" and "reply to" addresses.
Real world/virtual world correlation system using 3D graphics
pipeline
US 6,778,171 · Issued Aug 17, 2004
  See patent
A method of tracking objects that allows objects to be tracked across multiple
scene changes, with different camera positions, without losing track of the
selected object. In one embodiment, a method of tracking an object using a
computer, a display device, a camera, and a camera tracking device, the
computer being coupled to the display device, the camera and the camera
tracking device is disclosed. The method includes: A first image from within a
field-of-view of the camera is captured. The first image, which includes an actual
object with a tracking device, is displayed on the display device. Information
about the tracking device's location is received. The information is used to create
a virtual world reflecting the actual object's position within the field-of-view of
the camera as a shape in the virtual world. Information about the camera tracking
device is received. A virtual-camera position in the virtual world is created. A 3D
graphics pipeline is used to create a second image, the second image presenting
the shape in the virtual world. The second image is used to obtain the actual
object's position. In another embodiment, the method includes using the virtual-
camera's position to compute a new position for the camera to track the actual
object.

Multiple methods and systems for connecting or tapping into fiber
optics
US 6,744,946 · Issued Jun 1, 2004
  See patent
An apparatus for interfacing optical signals to an optical fiber has a layered
interface element with a first electrically conductive layer defining a first surface,
a photoactive material layer in intimate contact with the first layer on a second
surface opposite the first surface, a second electrically conductive layer in
intimate contact with the photoactive material layer, confining the photoactive
material layer between the first and second electrically conductive layers, and a
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third surface angularly disposed to the first surface and intersecting the
photoactive material layer; and a pressure element having a contact
                                                                 Home surface
translatable toward the first surface of the interface element, to urge an My Network
                                                                            optical     Jobs   Me
fiber positioned across the interface element into the first surface, and by local
deformation of the optical fiber also into the third surface, creating thereby an
intimate contact region between an edge of the photoactive layer intersecting the
third surface and the optical fiber. Indentions may be provided in a fiber to
facilitate engagement of elements.
Integrated network switching hub and bus structure
US 6,678,778 · Issued Jan 13, 2004
  See patent
A network switching hub is implemented on an IC chip, and has a bus connected
to external ports through sets of queue switch transistors, source to drain for
data switched onto the bus, the queue switch transistors gated simultaneously by
control lines from an on-board arbitrator controller following a preprogrammed
arbitration scheme. Data is switched off the bus and hub by port adapter
controllers connected to read amplifier receivers connected directly to the on-
chip bus, the port adapter controllers enabled by the arbitrator controller
following the same preprogrammed arbitration scheme. Ports may be serial or
parallel, and may be adapted to special purposes, such as PCI and hub to hub
connection for expansion.
Method and apparatus for enhancing wireless data network
telephony, including quality of service monitoring and control
US 6,625,126 · Issued Sep 23, 2003
  See patent
A system for wireless communication comprises an architecture of routers
connected to a network and having connected transceivers for wireless
transmission and reception of data, and a plurality of hand-held communicators
adapted for users to communicate with the network through the routers. The
system is adapted to provide wireless Data Network Telephony (DNT), and the
hand-held communicators execute Quality of Service (QoS) code adapted to
prioritize DNT packet code over all non-DNT traffic, thereby preserving the real-
time nature of the DNT code.
Method and apparatus for configuration of an internet appliance
US 6,622,169 · Issued Sep 16, 2003
  See patent
A network server is adapted to connect on the network with Internet appliances,
and to fully configure such appliances over a network connection to access and
operate on the Internet. In a preferred embodiment the appliances have first
Case 1:23-cv-00822-ADA Document 27-9 Filed 12/22/22 Page 36 of 67
control routines adapted to cooperate with second routines at the server, and
also a network address for connection. An initiation signal by aHome
                                                                  user at a My
                                                                            network-
                                                                               Network   Jobs   Me
connected appliance launches the first routines, causing the appliance to invoke
the network address and to establish network communication with the server and
to initiate configuration interaction. In some cases special telephone numbers are
provided with new appliances, and the dial-up server, through Destination
Number Information Service (DNIS) uses the dial-up number in conjunction with a
data repository to select appropriate software for interfacing with and configuring
a connecting appliance. A full range of services may be provided, including value-
added services, such a browsers and browser configuration.
Management of data before zero volt suspend in computer power
management
US 6,618,812 · Issued Sep 9, 2003
  See patent
A power management system for computers compresses contents of system
RAM and stores the contents on a non-volatile storage device before power is
suspended to a motherboard, which removes power also from RAM. By
compression, the capacity required of the non-volatile storage device is
minimized. In a variation, zeros are stored in all RAM area used by memory
management software before compression and storage on the non-volatile
device. In another variation, areas of RAM used by memory management software
are identified, and only those areas not used by memory management software
are stored on the non-volatile device. The capability is provided in several ways in
different embodiments.
Other inventors


System for controlling processing of data passing through network
gateway between two disparate communications network
US 6,603,762 · Issued Aug 5, 2003
  See patent
A control system is provided for controlling the aspects of data conversion and
routing of data passing between two disparate communications networks. The
system operates from a network-connected computer node running a software
application. The computer node acquires the data protocol associated with the
data en-route from one network to another and using the software application,
formulates the required conversion commands and routing instructions based on
information provided by the protocol signal. The generated commands are routed
to the appropriate conversion nodes through which the data will pass into the
next network. The conversion nodes apply the commands routed to them by the
computer node to the appropriate data passing through the nodes. In one
application, the control system combines the total hardware and software
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functions of the computer node and the conversion nodes and is provided to
operate from one network-connected node.                   Home My Network              Jobs   Me

Removable computer display interface
US 6,590,547 · Issued Jul 8, 2003
  See patent
A portable computer is configured to accept removable modular display panels of
different types that plug into a structure hinged to the body of the computer.
Each display panel has a sliding engagement means fixed along a lower edge, and
the hinged structure has a mating sliding engagement means along an upper
edge and parallel to the axis of the hinge, allowing a display panel to engage and
disengage in the direction of the axis of the hinge. In an embodiment of the
invention, display modules adaptable to the computer have a code stored in a
memory device that is accessible on start-up by the computer, to identify and
load a display driver routine capable of driving the display module assembled to
the computer.
Method and apparatus for creating a white-light interference
hologram from PC input photographic data
US 6,587,234 · Issued Jul 1, 2003
  See patent
A system for producing a white-light interference hologram includes a camera
adapted for recording a first and a second bitmap image of a scene from separate
vantage points, and the separation distance of the vantage points, a computing
engine adapted to compute three-dimensional x, y, and z characteristics of an
interference hologram topology for the scene from the bitmap image and
separation data, wherein x and y are two dimensional locations of bits in a bitmap
of the topology and z is a depth dimension for each x,y bit, and a printer adapted
to print in color the x,y bitmap, and to create the depth dimension z at each x,y bit
location, providing thereby a three-dimensional interference hologram topology
for the scene. In a preferred embodiment the depth dimension is created by
electrophoresis, using a medium having an electrophoretic gel layer, with the ink
applied to the gel in a bit-mapped pattern being ionic in nature, and capable of
being migrated in the gel layer by electrophoresis. In other embodiments the third
dimension is provided by using magnetic ink and migrating the bits using
controlled magnetic fields.

Method and apparatus for execution of an application during
computer pre-boot operation and post-boot under normal OS control
US 6,564,318 · Issued May 13, 2003
  See patent
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A special BIOS includes a program application manager (PAM) and a file system
                                                                Home(MSD)MyforNetwork
structure (FSS) that points to addresses on a mass storage device               an      Jobs   Me
application and at least one presentation playable by the application. The BIOS
calls the PAM on startup, and the PAM checks for an application, and finding
same loads and executes the application before loading the operating system
(OS). In a preferred embodiment the FSS is programmable, and the system after
OS boot is started checks MSD devices for new FSS parameters, and finding
same loads the parameters to the programmable FSS of the BIOS. In some
embodiments parameters may cause presentations and associated applications
to be accessed and executed in a rotating or serial order. In other embodiments
the BIOS represents its own address space in RAM to the OS at OS boot to
include the application, enabling the application to continue to execute during OS
boot. In further embodiments a special driver is executed after OS boot to bind
the application into the OS configuration so the application may continue to
operate in a stable manner.
Other inventors


Method and apparatus for call distribution and override with priority
recognition and fairness timing routines
US 6,563,788 · Issued May 13, 2003
  See patent
A method for promoting fairness in a communication center in response to
requests for destination numbers (DNs) from network-level routers has steps of
determining latency for requests from individual ones of the network-level
routers, receiving a request from a first router for which latency is determined,
assigning a fairness wait time to the request, the time determined as an inverse
function of latency, and answering the request according to rules in effect only
after the wait time has expired. In some cases requests arrive with priority, and
priority is used a swell as latency in determining wait time. In other cases a
second fairness time is imposed, after which a fairness algorithm is called to
award a DN according to statistical history and cal priority. The system is useful
for communication centers for connection-oriented telephone systems, Internet
protocol systems, and for all sorts of digital messaging and mail systems.
Other inventors


Noise reduction techniques and apparatus for enhancing wireless
data network telephony
Case 1:23-cv-00822-ADA Document 27-9 Filed 12/22/22 Page 39 of 67
US 6,560,214 · Issued May 6, 2003
  See patent                                                   Home      My Network   Jobs   Me

A system for wireless communication comprises an architecture of routers
connected to a network and having connected transceivers for wireless
transmission and reception of data, and a plurality of hand-held communicators
adapted for users to communicate with the network through the routers. The
system is configured for data network telephony (DNT) in the wireless portion,
wherein voice data is encoded and transmitted in real time in data packets, and
also provides data exchange for document-type entities. In one aspect a unique
mirroring of channels from the wireless portion to a hard-wired link provides for
mutual access and sharing of overall bandwidth from and to individual
transceivers.
Tailoring data and transmission protocol for efficient interactive data
transactions over wide-area networks
US 6,553,410 · Issued Apr 22, 2003
  See patent
A system is provided for improving data transmission to computers and
computerized appliances connected directly or indirectly to the Internet or other
wide area data network. In this system software at a proxy server uses prestored
characteristics of client devices to translate data from Internet sources into a
reduced-content form adapted specifically to the client device. Unique
functionality for the system includes templates provided for specifying WEB page
to client translation, and special scripts for prefetching pages in real-time.
Systems are provided for many sorts of client devices and hosted devices.
Simplified-file hyper text protocol
US 6,535,922 · Issued Mar 18, 2003
  See patent
A system is provided wherein relatively low-end computers, such as portable,
battery-powered computers ordinarily incapable of sophisticated Internet
browsing functions may be used to browse the Internet. The enhanced computing
ability for such portables is provided by a unique Internet server adapted for
transposing data files to alternative, low-information-density form, preferably
comprising simplified or single files suitable for rapid processing and display by
connected portable and other low-end computers in embodiments wherein
batter-powered field units are used, battery life is exhibited far beyond what
would be expected for a battery-powered computer with computing power for
browsing the Internet directly. In some embodiments of the invention adapted
files are saved and identified for future use in communicating with specific
devices over Internet connections.
Case 1:23-cv-00822-ADA Document 27-9 Filed 12/22/22 Page 40 of 67

Micropersonal digital assistant                                  Home      My Network    Jobs   Me
US 6,523,079 · Issued Feb 18, 2003
  See patent
A personal digital assistant module with a local CPU, memory, and I/O interface
has a host interface comprising a bus connected to the local CPU and a
connector at a surface of the personal digital assistant for interfacing to a bus
connector of a host general-purpose computer, providing direct bus
communication between the personal digital assistant and the host general-
purpose computer. In an embodiment, the personal digital assistant also has a
means for storing a security code. The personal digital assistant according to the
invention forms a host/satellite combination with a host computer having a
docking bay, wherein upon docking a docking protocol controls access by the
host to memory of the personal digital assistant based on one or more passwords
provided by a user to the host. In another embodiment the personal digital
assistant has a compressed BIOS chip, and in yet another embodiment also has
an expansion port connected to the local CPU, and expansion peripheral devices
may be connected and operated through the expansion port.
Other inventors


Multiple methods and systems for connecting or tapping into fiber
optics
US 6,519,391 · Issued Feb 11, 2003
  See patent
An apparatus for interfacing optical signals to an optical fiber has a layered
interface element with a first electrically conductive layer defining a first surface,
a photoactive material layer in intimate contact with the first layer on a second
surface opposite the first surface, a second electrically conductive layer in
intimate contact with the photoactive material layer, confining the photoactive
material layer between the first and second electrically conductive layers, and a
third surface angularly disposed to the first surface and intersecting the
photoactive material layer; and a pressure element having a contact surface
translatable toward the first surface of the interface element, to urge an optical
fiber positioned across the interface element into the first surface, and by local
deformation of the optical fiber also into the third surface, creating thereby an
intimate contact region between an edge of the photoactive layer intersecting the
third surface and the optical fiber. Indentions may be provided in a fiber to
facilitate engagement of elements.

                                Show more results
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United States Patent (19)                                                          11 Patent Number:                                   5,539,616
Kikinis                                                                            45) Date of Patent:                           *Jul. 23, 1996
(54) MODULAR PORTABLE COMPUTER                                                     4,749,364 6/1988 Arney et al. ............................ 361.1680
                                                                                   5,278,730     1/1994 Kikinis .................................... 361/686
(75) Inventor: Dan Kikinis, Saratoga, Calif.                                       5,331,509     7/1994 Kikinis .................................... 361/686
 73) Assignee: Elonex Technologies, Inc., Sunnyvale,
                       Calif.                                                Primary Examiner-Michael W. Phillips
(*) Notice:            The term of this patent shall not extend              Attorney, Agent, or Firm-Donald R. Boys
                       beyond the expiration date of Pat. No.
                       5,278,509.                                             57                          ABSTRACT
(21) Appl. No.: 159,078                                                      A modular computer has a framework with module bays for
 22 Filed:      Nov. 29, 1993                                                receiving CPU modules, power modules, and peripheral
                                                                             function modules such as floppy and hard disk drives. The
           Related U.S. Application Data                                     framework has a built-in compressed bus and a variety of
                                                                             function modules which can be plugged into any one of the
63 Continuation-in-part of Ser. No. 97,946, Jul. 26, 1993, Pat.              module bays. Function modules include, but are not limited
        No. 5,278,730, which is a continuation of Ser. No. 905,480,          to, CPU, power, floppy disk, hard disk, RAM memory, LAN
        Jun. 29, 1992, abandoned.
                                                                             communication, modem, FAX communication, and data
(51) Int. Cl. ................................. G06F 1/16; H05K 7/10         acquisition. In some embodiments function modules are
52 U.S. Cl. .......................... 361/686; 361/683; 361/726;            provided for communicating with separate input means,
                                                                361/727
58       Field of Search ......................... 364/708.1; 439/928;
                                                                             Such as voice, keyboards, and pen-pads. In one aspect the
                     345/169,905; 312/223.2; 361/679-686,                    module bays and the function modules are configured
                                    724-727, 752, 796, 826,827               according to dimensional and connective standards of the
                                                                             Personal Computer Memory Card International Association.
56)                   References Cited
                U.S. PATENT DOCUMENTS
      4,545,023 10/1985 Mizzi .................................. 361/680 X                     14 Claims, 18 Drawing Sheets
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                                            Fig. 4
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                           87
                                   1 2 3           in
             15                                8                 85
                                  Power input and                                   17
                                  Conversion Unit
        Display                                                              Keyboard
   93
                                    89                  /
                                                                 95                  97
                  Video Display                          Keyboard
                   Controller                           Controller
  61
                                    33                      4.


        Function Module                                          (Module Bay 35)
         (Module Bay 19)

                                  -45                   47

         (Module Bay 21)                                         (Module Bay 37)



         (Module Bay 23)                                         (Module Bay 39)

                                  7- 53                  55

         (Module Bay 25)                                         (Module Bay 41)



                                      Fig. 5
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                           Fig. 6
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                                    Fig. 7
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            125




                                     Fig. 8
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        35




                               Fig. 9
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            147




                                    Fig. 10
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           16




                                    Fig.11
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           175




                                    Fig. 12
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          191




                                   Fig. 13
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                               Fig. 14
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                               Fig. 15B
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   229



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                  230A
                  230B     234           236
   227


                237                 237            237




         D1                                    Fig. 17
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                     Fig. 18

                                           259


                       257
                                1.       2 i. O O n
                                                     N      301(a)
                                                                  m mass amo

                                                                 Video
                                       Power input and           controller
                                       Conversion Unit           -----
         /O Area                                                    4?
                      255
  225

                                                           231


         CPU Function Module

                                                           236
        300 J
                                       234

                             Fig. 19
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        300                             30



                        State
                     Translator




                        Fig. 20
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                                                          5,539,616
                              1                                                                       2
         MODULAR PORTABLE COMPUTER                                      In one alternative embodiment the input apparatus is a
                                                                     keyboard, and the display is pivoted to close over the
           CROSS REFERENCE TO RELATED                                keyboard. In another alternative embodiment the display and
                       DOCUMENTS                                     the input apparatus comprise a touchscreen combination
   This application is a continuation-in-part of application         implemented      on a surface of the enclosure. In some embodi
                                                                     ments the docking bays have guides engaging guides of
Ser. No. 08/097.946, filed Jul. 26, 1993, now issued as U.S.         functional modules, and latching and expulsion apparatus to
Pat. No. 5,278,730, which is continuation of application Ser.        engage and expel functional modules.
No. 07/905,480, filed Jun. 29, 1992, abandoned.                         In one preferred embodiment the input means is a key
                                                                  10 board, and the display is a flat panel display hinged to the
               FIELD OF THE INVENTION
                                                                     support structure, and closable over the keyboard for storage
   The present invention is in the area of portable computer         and transport.
systems, and is particularly relevant to portable computers             Functional modules are provided serving a wide variety of
known as notebook, sub-notebook, and palmtop computers. 5 functions. One module comprises a CPU, which provides
                                                                     flexibility in CPU type and power, and upgradability as well.
          BACKGROUND OF THE INVENTION                                A CPU module may also incorporate random access
   Portable computers are popular among computer users               memory and video display control. Function modules also
                                                                     are provided to enhance flexibility in input. Separate input
who travel and need to take their work along, and there is a
tendency in the marketplace to smaller and smaller versions 20 tablet maysuch
                                                                     devices,
                                                                                   be
                                                                                       as a full-size keyboard or a pen-based input
                                                                                       used with appropriate modules for receiving
of portable computers. They are smaller and lighter than             signals  from    the  separate input devices and providing the
laptops, and are therefore more portable. The evolution to           signals  to  the internal bus. An input module for voice input,
smaller and lighter portable computers, however, is not              recognizing    human    speech, is also provided. Other function
without problems. For one thing, smaller portable computers          modules     include   Fax  modems,   telephone modems, floppy
means less space for battery packs, which usually means 25 drives, hard disk drives, LAN communication                   modules, and
shorter useful life between recharges. Another problem               data  acquisition    modules.
related to smaller size is a difficulty in providing versatility.
Smaller size naturally means less space to provide a broad
choice in peripheral devices and options.                                   BRIEF DESCRIPTION OF THE DRAWINGS
   Yet another problem is related to addresses and data byte 30 FIG. 1A is an isometric view of a modular notebook
size. State-of-the-art computers are capable of 32 bit               computer framework according to an embodiment of the
addresses and 32 bit data words. A 32 bit computer, though,          present invention.
typically needs a bus structure with nearly 100 active                  FIG. 1B is a view of the computer framework of FIG. 1A
signals, equating to high pin count and extensive device and         from   one side from the vantage of line 1B-1B on FIG. 1A.
component density. Such high density in a small computer          35
creates many other problems, such as problems with heat                 FIG. 2 is a sectioned plan view of the computer frame
dissipation. These are a few of the many problems in                 work of FIG. 1A taken according to section line 2-2 of
designing and developing portable computers.                         FIG. B.
    What is needed is a new design for portable computers               FIG. 3 is an isometric illustration showing a function
based on a bus structure allowing 32-bit capability with a 40 module according to the present invention associated with a
minimum pin count, utilizing, for example, multiplexing of           docking bay of the framework of FIG. 1A.
address and data on a single 32 bit structure, and utilizing            FIG. 4 is another view of a function module according to
only state-of-the-art technology to minimize power (hence            the present invention.
buffer) requirements, which also minimizes heat and equip 45 FIG. 5 is a block diagram of a compressed bus and
 ment complexity and density problems. Also, modularity              connection to docking bays in a computer framework
 needs to be raised to a new level by making virtually all           according to an embodiment of the present invention.
components modular and "plug-in", including CPU's,                      FIG. 6 is a block diagram of a CPU function module
power packs, anti all of the various known sorts of periph           according to an embodiment of the present invention.
 eral devices.
                                                                  50     FIG. 7 is a block diagram of a power supply function
             SUMMARY OF THE INVENTION                                module    according to an embodiment of the present inven
                                                                 tion, with indication of connections to the internal bus
   In a preferred embodiment of the invention a modular          structure and power conversion unit of the computer.
computer is provided, comprising a case having contiguous           FIG. 8 is a block diagram of a floppy disk drive function
walls, the case for supporting and enclosing elements of the 55 module used in the invention.
modular computer, a plurality of separate module bays in a          FIG.9 is a block diagram of a hard disk drive module used
common plane, each module bay comprising a walled cavity         in an embodiment of the invention.
in the case having an open outboard end and an inboard end          FIG. 10 is a block diagram of a "flash card” memory
closed by an end wall, wherein the walls of each cavity,
including the end wall, comprise an extension of the con 60 tion. according to an embodiment of the present inven
                                                                 module
tiguous walls of the case; a multi-pin electrical connector         FIG. 11 is a block diagram of a LAN module according
mounted through the inboard wall of each module bay; an          to an embodiment of the present invention.
internal bus within the contiguous walls of the case con
nected to each of the electrical connectors mounted through         FIG. 12 is a block diagram of a modem module according
the inboard walls of the module bays; a display; and an input 65 to an embodiment of the present invention.
apparatus attached to the case substantially coplanar with the      FIG. 13 is a block diagram of a FAX module according to
plane of the module bays.                                        an embodiment of the present invention.
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                           3                                                                   4
  FIG. 14 is a block diagram of a data acquisition module            FIG. 2 is a plan section view just above the module bays
according to an embodiment of the present invention.               taken along section line 2-2 of FIG. 1B. Bays 19, 21, 23,
  FIG. 15A is an isometric view of a modular palmtop               and 25 are shown on one side of the section view, and bays
computer framework according to an embodiment of the               35, 37, 39, and 41 along the opposite side. A printed circuit
present invention.                                                 board structure 57 is fastened in a substantially vertical
  FIG. 15B is a view of the computer framework of FIG.             position down the center of frame 59, and connectors 33,43,
15A from one side from the vantage of line 15B-15B on              45, 47.49, 51, 53, and 55 are connected to the printed circuit
FIG. 15A.                                                          board structure and present their pin structure outward
                                                             toward the respective bay areas. In the presently described
   FIG. 16 is a sectioned plan view of the computer frame 10 embodiment the internal connectors are male connectors,
work of FIG. 15A taken along section line 16-16 of FIG.            but this is not a requirement of the invention.
15B.                                                                  As also shown in FIG. 1A, each module bay has a pair of
    F.G. 17 is an isometric illustration showing a function        opposed rails located vertically at about the midpoint of the
 module and a dedicated docking bay in an embodiment of            height of the module bay. Rails 27 and 29 serve module bay
 the present invention.                                        15 19, and similar rails are located in each of the other module
                                                                   bays.
    FIG. 18 is another view of a function module according           FIG. 3 is an isometric view of a function module 61
 to an embodiment of the present invention.
    FIG. 19 is a block diagram of a compressed bus and frameworkto11.theModule
                                                                   according         invention aligned with module bay 25 of
                                                                                              61 includes guides 63 and 65 on
 connection to docking bays in a computer framework
 according to an embodiment of the present invention.          20 opposite sides for engaging rails 67 and 69 when module 61
                                                                  is inserted into bay 25. The module has two spring-loaded
    FIG. 20 is a block diagram of a CPU function module           detent levers (lever 73 is shown) for engaging detents in
 according to an embodiment of the present invention.             guide rails 67 and 69 when the module is fully inserted.
    FIG. 21 is an isometric drawing of modular palmtop             Detent 71 is shown in rail 67 in FIG. 3.
 computer according to another embodiment of the present 25 Each module bay has a compression spring mechanism
 invention.                                                       engaged by a function module as the module nears full
                                                                  insertion, so there is an outward force on the module when
           DESCRIPTION OF THE PREFERRED                           the detent levers engage the detents. Mechanism 75 (FIG. 2)
                      EMBODIMENTS                                 is exemplary. To insert a module one aligns the guides in the
                                                                  module with the guide rails and pushes the module into the
    General Description                                        30 module bay until the detents engage. Button 79 on front face
   FIG. 1A is an isometric drawing of a notebook computer         77 of the module is for retracting the detent levers of the
framework 11 according to the invention. Framework 11 module, muchmodule,    in which case the spring mechanism ejects the
comprises a back housing 13, a tilt-up flat panel display 15,                      as is the case with some floppy disk drives.
shown closed, a keyboard 17, and a plurality of module bays 35       FIG.   4  is an  isometric view of function module 61,
for plugging in function modules. Back housing 13 includes        showing back face 81 opposite front face 77. The back face
a power unit for converting electrical input on a wide variety    includes a recessed female connector receptacle 83 in the
of standards to the form required by the computer. For preferred embodiment, for mating with male connectors
example, there is a port (not shown) for connecting to a          positioned in each pod bay, such as connector 33 in FIG. 1B
standard household outlet, rated at 120 V., 60 Hz, alternating 40 and  FIG. 2. A second detent lever 74 is opposite lever 73 of
                                                                  FIG. 3.
current. The power unit will convert the input to outputs as
needed by the computer bus and functional modules. There             In the embodiment described above, and in many other
are also input ports for 6 V. DC, 12 V. DC, 9 V. DC, and          embodiments, the notebook computer framework of the
others, and the power unit in one embodiment off the present present invention comprises a frame with module bays and
invention is capable of recognizing the input characteristics 45 connectors as described above for "plugging in' function
by sampling, and switching to proper on-board circuitry to        modules, power supply units, and other peripheral devices.
utilize the input.                                                The framework also comprises display 15, keyboard 17, and
   In the embodiment shown by FIG. 1A four module bays            an internal bus structure hereinafter termed the Notebus,
19, 21, 23, and 25 are shown along one side of the frame          which is described in additional detail below, in the section
work. There are four more module bays along the other side 50 titled "Notebus Bus Structure'.
of the framework opposite the module bays shown. There               The function modules, as represented by module 61 in
could be more or fewer module bays, but eight is convenient       FIG.3 and FIG. 4, are provided in a wide variety of different
and a good balance between the need to stay small and             models capable of a wide variety of different functions. For
simple, and to also have adequate versatility.                    example, framework 11 has no "on-board" CPU, battery
   FIG. 1B is an end view of the notebook computer frame 55 power, or system memory. These functions and all other
work of FIG. 1 in the direction of arrows 1B-1B of FIG.           functions are provided by different models of function
1A. Each of the module bays has a set of guide and                modules which may be inserted in any one or a combination
positioning rails such as rails 27 and 29 in bay 19. The rails    of the available module bays. Other kinds of function
are to position and guide a function module inserted into the     modules that may be inserted include floppy-disk drives,
module bay. Each rail in a set has a detent such as detent 31 60 hard-disk drives, "flashcard' memory modules, LAN and
for latching a module when the module is fully inserted in        modem adapters, Fax modules, speciality modules such as
the bay. Each bay also has a connector such as connector 33       data acquisition modules adapted to specific equipment, and
in bay 19. The connectors are for coupling to a mating detail     more. The function modules are also described in more
connector on a function module inserted in a bay. It will be             in the section below titled "Function Modules'.
apparent to a person with skill in the art that there are a 65 Electronic Architecture
number of equivalent ways guide rails, detents, and coupling         FIG. 5 is a block diagram showing internal elements of
may be accomplished.                                              Notebook computer framework 11, connected to show the
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                               5                                                                      6
electronic architecture of the notebook computer according            tion. Also as stated above, function modules may have many
to the invention. Power input and conversion unit 85 is               different functions. There are as many different functions, in
housed in back housing 13 (FIG. 1) and has ports 87 for               fact, as there are possibilities for discrete peripheral devices,
power inputs. Unit 85 senses the input conditions and selects         plus power and CPU modules. An individual function mod
appropriate circuitry to convert the input to the voltages            ule is provided for each function, and in each case the
needed to power the other elements of the system. Output              function module has a physical size and form compatible
from the conversion unit is to Notebus 89, which comprises            with the bays, guide rails, and connectors for "plugging in'
paths for power as well as for digital information such as            to framework 11.
data and addresses.                                                   The "face' of a function module, being the exposed face
   Because there are a wide variety of function modules, as 10 when the module is "plugged in” (see face 77 in FIG.3) may
indicated above and described in more detail below, there          have elements specific to the type of module. For example,
needs typically to be more than one power line in the              a CPU module may have no indicators or other elements on
Notebus. For example, the notebook computer of the inven           the front face, while a floppy disc module will typically have
tion comprises hard disk drive modules, and these modules
are preferably provided without their own "on board' power 15 for releasingforand
                                                                   an  opening      inserting a floppy disk and a "key" or button
                                                                                       ejecting the floppy disk.
source. The motor drive for the hard disk requires a different
power (voltage and current) than does a CPU, for example,             A  unique  feature of the present invention is that the CPU
so there are parallel power lines of differing size and voltage    for the notebook computer is provided as a CPU function
level in the notebus. A typical Notebus will have, for module. This provides an ability for a user to tailor the CPU
example, a line for 24 V DC, another for 12V DC, and yet           power to the other modules and application for the notebook
another for 5 V DC, as well as multiple ground lines.           20 computer, and an easy upgrade to more powerful CPUs.
   Notebus 89 connects to a video display controller 91               FIG. 6 is a diagram of a CPU module 99 plugged into a
including Video Random Access Memory (VRAM) which bay in a notebook computer according to the present inven
both powers and controls display 15, which in the preferred tion. In this case (referring to FIG. 2) the module is plugged
embodiment is a flat panel display driven by analog driver         into bay 19 having connector 33. This is exemplary, as the
lines on analog bus 93. Notebus 89 also connects to a 25 module could just as well be plugged into any open bay of
keyboard controller 95 which powers and controls keyboard framework 11. By virtue of being plugged into connector 33
17 over link 97, accepting keystroke input and converting or another module connector, internal elements of the CPU
the input to digital data for transmission on Notebus 89. The      module are connected to Notebus 89.
keyboard controller may be physically mounted in the                  The internal elements for module 99 comprise CPU 103,
keyboard or in framework 11.                                    30
   Notebus 89 also connects as illustrated in FIG. 5 to each       a state translator 105, and RAM memory 113. CPU 103 may
of the module bays, such as bay 19, through connectors,            be any of a wide variety of CPUs (also called in some eases
such as connector 33. When a function module, such as              MPUs) available in the art, for example Intel 80386 or
module 61, is inserted into a module bay, the mating               80486 models. MIPS, RISC implementations, and many
connector in the back of the function module mates with the 35 others. CPU 103 communicates with State Translator 105
connector from the Notebus, and circuitry inside the func          over paths 107, and State Translator 105 communicates with
tion module is then connected to the Notebus.                        connector 33, hence Notebus 89, over bus 109 internal to the
   Notebus Bus Structure                                             module, which is an extension of bus 89 when the module
                                                                     is plugged into bus 89.
   The Notebus comprises, as stated above, both power and               State translator 105 is a chip or chip set designed to
data paths. The digital lines are capable of carrying 32 40 translate           commands and requests of the CPU to commands
addresses and conveying data in 32 bit word length. To               and  requests  compatible with the Notebus. It was mentioned
minimize pin count and routing complexity, addresses and above that CPU                 103 may be one of a wide variety of CPUs,
data are multiplexed on a single set of 32 traces in the overall     and  that.  Notebus  89 may be any one of a wide variety of
bus structure. One with skill in the art will recognize that this
type of bus is what is known in the art as a low-pin-count or 45 compressed        buses. It will be apparent to one with skill in the
                                                                     art that there may be an even wider variety of state trans
compressed bus. In this kind of bus different types of signals,      lators 105 for translating between the CPU and the Notebus.
such as address and data signals, share signal paths through         The state translator is theoretically a different device for
multiplexing. For example, the same set of data lines are            each possible combination of CPU and Notebus.
used to carry both 32-bit addresses and data words of 32-bit
length.                                                           50    RAM memory module 113 comprises conventional RAM
   In the Notebus of the present invention, some control             chips   mounted on a PCB as is known in the art, and
signals, such as interrupt arbitration signals, may also share interface, suchto asstate
                                                                     connectable
                                                                                         an
                                                                                             translator 105 by a plug or connector
                                                                                             edge  connector. The purpose of having
the data lines. Typical examples of buses that are exemplary         aRAM      module"onboard'      the CPU module is to provide for
as usable for the Notebus (with the exception of power 55 rapid memory access, which                    will be much slower if the
supply analog lines in the Notebus) are the "S-Bus' imple
mented by Sun Microsystems, the “Turbochannel' Bus from other module bays. Memory at anothermodule
                                                                     RAM     is made  available  in a  separate
                                                                                                                 module
                                                                                                                        at one of the
                                                                                                                         bay is on the
Digital Equipment Corporation, and buses compatible with Notebus, and will be subject to bus contention                      and wait
the IEEE-488 standard.
   The Notebus is a high-speed backplane bus for intercon 60 CPU module allows different amounts of memory toto the
                                                                     states.  The  plug-in nature   of the  RAM   unit relative
                                                                                                                                    be
necting processor, memory and peripheral device modules.             provided   with  a CPU   module    in the notebook  computer   of
The Notebus also supplies standard operating and standby             the present invention.
power supply voltages and electrical ground to all module               As described above, Notebus 89 comprises not only the
bays.
   Function Modules
                                                                     shared   data and address lines, but also power and ground
                                                                  65 connections for the modules plugged into the various bays.
   FIG.3 and FIG. 4 show, as described above, two different          Paths 109 and 107 therefore comprise power and ground
views of a function module according to the present inven            lines for CPU 103 and Translator 105.
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                             7                                                                  8
  If, for example, CPU 103 is an INTEL 80486 micropro              connect as input, to power input and conversion unit 85,
cessor, State Translator 105 will be a translator for accom        much as do input ports 87.
modating the state machine of the 80486 to the state machine          In FIG. 7, lines 119 and 121 connect power module 11 to
of the Notebus, which may be any one of the buses described        conversion unit 85, where the power input from the power
above for bus 89, or another compressed bus. There are             module is sensed and treated as a power source, much as is
many equivalent ways a translator may be implemented for           done for power inputlines 87. This power is converted to the
the specific case. Given the manufacturers available design        needed voltages and current capabilities, and put back out on
information for the CPU and the equivalent information for         the power supply output lines to the module bays. In FIG. 7
bus 89, it is within the skill of workers in the art without       line 119 is ground, and arrow 123 represents all of the
undue experimentation to implement the translator and the 10 data/address, control, and power output lines to the module
required connections. This is conventional technology. The         bays. Lines represented by arrow 123, plus lines 119 and 121
implementation of the translator on a module with a CPU to         are Notebus 89. Although not shown in FIG. 7, there are
plug into a module bay in the notebook computer is unique          connections for line 119 and for line 121 to each of the
to the present invention.                                          module bay connectors.
   In the invention, state translators may be implemented in 15 Power modules such as module 111 may be plugged into
a single chip set or circuitry set to be capable of translating    a connector on a charging module separate from the note
between a number of CPUs and a number of different bus             book computer, using the same connector used for plugging
possibilities. One might, for example, design and implement        into the Notebus via a module bay of framework 11, and
a translator with the necessary circuitry and intelligence to      recharged for later use with a modular notebook computer
translate between three different CPUs and three different 20 according to the invention. This allows a user to keep spare
compressed buses. The state translator could be made hard          power modules ready for use, and to recharge modules
ware or software programmable to select one CPU and one            without connecting the computer itself to a charging unit.
bus from the available selections at some convenient time in       Moreover, the provision of power modules allows a user to
the manufacturing cycle, or even at the time of selection of       provide more or less portable time to the notebook computer
modules to make up a notebook computer.                         25 by using one or more than one power module.
   As an example of a hardware programmable translator, a             FIG. 8 shows a floppy disk drive (FDD) module 125
translator could be built to have certain traces cut as a near     plugged into a module bay in a notebook computer accord
final step in manufacture as a way of selecting the CPU and        ing to an embodiment of the present invention. Module 125
bus pair. Translators could also be programmable by virtue 30 comprises a conventional FDD unit 129 for nominal 3.5 inch
of on-board EPROM or EEPROM devices. As an example                 disks with conventional circuitry mounted in a case 130 to
of software programmability, translators could be imple            provide a module with guides, latches, and a connector
mented with microprocessor technology and software pro             matable with connector 35 to be able to plug into a module
grammable. A CPU module could be plugged into a con                bay in the notebook computer of the present invention. The
nector on a special programming unit, for example, before 35 case comprises an opening 131 for inserting and withdraw
installation in a notebook computer according to the present       ing a floppy disk, and an eject button 133 for ejecting a
invention, and be sent certain commands to set up on board         floppy disk.
Software to translate between the desired CPU and bus. It            A controller 127 communicates with unit 129 over lines
will be apparent to one with skill in the art that there are       126 and with connector 33 (hence Notebus 89) over lines
many possible variations in the implementation of the trans 40 128. The unit also derives power from the appropriate pins
lators.                                                            on connector 33, but these pins and lines are not shown.
   FIG. 7 shows a power module 111 plugged into a bay in           Controller 127 is an ASIC chip or chip set for translating
the notebook computer according to an embodiment of the            between the notebus and the FDD unit. Given the data
present invention. The purpose of a power module is to             storage standards of the FDD unit and the characteristics of
provide a source of power for the computer, which includes 45 bus 89, it is within the scope of workers with ordinary skill
any modules plugged into the module bays. As is common             in the art to implement controller 127 without undo experi
in notebook computers in the art, there may be a battery,          mentation.
typically rechargeable, in framework 11, and the battery may          FIG. 9 shows a hard disk drive (HDD) module 135
also be replaceable and rechargeable through power input           according to an embodiment of the present invention
lines 87. In the case of an on-board battery pack, there is the 50 plugged into bus 89 in a module bay of framework 11. HDD
option of using all module bays for other than power packs.        module 135 comprises a conventional HDD unit 139
   Preferably framework 11, sans function modules, has no          mounted in a case 137 to be compatible with plugging into
power capability other than power plugged into one of input        a notebook computer according to the present invention. As
lines 87, which may be converted to the power character            in the case of the FDD module described above, a controller
istics needed by the computer and distributed on the power 55 141 is provided to translate between Notebus 89 and the
lines of the Notebus. For portability, power is typically          HDD unit. Controller 141 communicates with HDD unit 139
supplied by one (or more) power modules 111 plugged into           over lines 143, and with connector 33 over lines 145.
one or more of the module bays.                                    Connector 33 is exemplary of any one of the module
   Module 111 has a battery pack 101 which is connected via        connectors in the notebook computer.
lines 117 to (in this case for example) connector 33, and 60 Given the characteristics of HDD unit 39 and of Notebus
hence to Notebus 89. Because there are several supply lines    89, it is within the skill of workers in the art to implement
in the Notebus for supplying power to function modules at      controller 141 without undue experimentation. Power line
different voltage and with different current capability, the   connections are not shown. In implementing controller 141
power lines in the Notebus For connecting a power module       there are several protocols that may be used. One is the
111 are not the same as the lines for supplying power to a 65 ST506 standard known in the art. Another is the IDE
module. There is instead a separate sat of power lines to pins standard known in the art. Yet another is an enhanced IE)E,
on the module bay connectors, such as connector 33, which      called EIDE, known to the inventors, and the subject of a
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separate patent application to be filed. In the EIDE protocol, into a module bay in the present invention. Fax card 199
there may be multiple IDE devices daisy-chained and            communicates over lines 197 with a telephone interface 195,
addressed as secondary IDE devices with an additional          which may, as in the case of the modem module described
select number.                                                 above, have more than a single telephone "jack'.
   FIG. 10 shows a "flash card” memory module 147                 A controller 201 provides an interface for the conven
plugged into connector 33 of the notebook computer of the tional FAX card between the card and Notebus 89 over lines
invention. "Flash cards' are RAM memory cards known in         203 and 205. Alternatively, the controller may be imple
the art pluggable into typically parallel ports o make con     mented on the same card as the FAX circuitry. In yet another
nection with internal bus structures of a computer. Module     alternative, the FAX capability and the modem capability
147 comprises a conventional "flash card” 151 mounted in 10 described above may be implemented into a single module.
a case 149 compatible with the module bay of a notebook           FIG. 14 shows a specialty data acquisition module 207
computer according to the present invention.                   plugged into connector 33 in a module bay in a notebook
   As in cases described above, a controller 153 is needed to  computer according to an embodiment of the present inven
accomplish communication between the memory structure          tion. Module 207 comprises a circuit card 215 mounted in a
of the "flash card' and bus 89. Controller 153 communicates 15 case 209 to be compatible with plugging into a module bay.
with "flash card' unit 151 over lines 155 and with connector   Card 215 communicates over lines 213 to an interface 211
33 over lines 157. There may optionally be an opening 159      which may comprise one or several acquisition leads for
in case 149 and a connector (not shown) within unit 151 for    connecting to outside equipment. For example, a data mod
inserting and withdrawing flash cards, so relatively large     ule may be provided For following the output of the vertical
collections of data may be plugged in as desired. Alterna 20 and horizontal sweep of an oscilloscope, and would have at
tively the interface may be the modular interface afforded by  least two input leads; one for the vertical and one for the
the plug-in module 147. Again, given the known character       horizontal sweep.
istics of the flash card and of bus 89, implementation of the     Card 215 communicates over lines 217 to connector 33,
controller is a matter within the skill of workers in the art.
                                                               hence Notebus 89. The circuitry on card 215 is designed to
   FIG. 11 shows a LAN module 161 plugged into connector 25 digitize the input if the input is analog, and to be compatible
33 of a notebook completer according to an embodiment of with Notebus 89. Given the characteristics of signals to be
the present invention. In the embodiment shown in FIG. 11      measured and the characteristics of Notebus 89, implemen
a conventional LAN card, such as an Ethernet card, is          tation of such a card is within the ordinary skill in the art.
mounted in a case 163 to be compatible with plugging into         The embodiments of the present invention described
a module bay of a notebook computer according to an 30 above           relate primarily to notebook type computers. How
embodiment of the present invention.                           ever, the invention has broader applications. The principles
  LAN card 167 communicates with a conventional con              of the invention are also applicable to portable computers
nector 165 in the face of the case of module 61 that, is          known as palmtop computers, and further embodiments are
exposed when the module is plugged into a bay. This is a          described below.
conventional connector of the sort known in the art for 35
connecting computers on a network.                                  FIG. 15A is an isometric view of a modular palmtop
                                                                 computer 221 according to an embodiment of the invention.
   Within module 161, in a first, alternative, conventional      Computer 221 is approximately the size of one-half a
LAN card 167 interfaces to a controller 169 communicating        standard piece of paper (approximately 5.5 inches by 8.5
over lines 171 and 173, and the controller translates between 40 inches) and in a preferred embodiment comprises a planar
bus 89 and the conventional LAN card. In a second alter          array of four Personal Computer Memory Card International
native, a LAN card is provided with the translation built in,    Association (PCMCIA) Type II module bays in a case 223.
so no separate controller is needed. The first alternative is       In this embodiment case 223 has a combination I/O area
preferable.                                                      225 implemented on one side of computer 221, comprising
   FIG. 12 shows a modem module 175 plugged into con 45 a display overlaid with a touch sensitive planar structure. In
nector 33 in a bay of a notebook computer according to an        other embodiments, the display may be a flat-panel display
embodiment of the present invention. Modem module 175 pivoted to the case, or a separate monitor in communication
comprises a conventional modem card 181 mounted in a             with case 223. The touch screen provides a "softkey"
case 177 to be compatible with plugging into a module bay.       operation in conjunction with interactive control logic. In a
In this case, and other cases above, where the term "con 50 preferred embodiment of the invention, the control logic
ventional' is used in conjunction with a card or unit, it is     resides in static or dynamic memory within case 223 but
meant that the circuitry and function is conventional. The       may also be part of an installed PCMCIA-type peripheral. A
size may be adjusted to be compatible with a module case         power unit (not shown) is enclosed within case 223 for
for plugging into a bay of a notebook computer according to      converting electrical input on a wide variety of standards to
the present invention.                                        55 the form required by the computer. For example, there is a
   Modem card 181 connects over lines 183 to a telephone         port (not shown) for connecting to a standard household
interface 179, which may comprise more than one "jack" so        outlet, rated at 120 V., 60 Hz, alternating current. The power
a hand set may also be connected. Card 181 communicates          unit converts the input to outputs as needed by the computer
to Notebus 89 overlines 187 and 189 through controller 185, bus and function modules. There are also input ports for 6V.
which translates between the conventional card and the 60 DC, 12 V. DC, 9 V. DC, and others, and the power unit in
compressed bus. Alternatively, the translation components        one embodiment of the present invention is capable of
may he implemented on a single card along with the modem         recognizing the input characteristics by sampling, and
circuitry.                                                       switching to proper onboard circuitry to utilize the input.
   FIG. 13 shows a FAX module 191 plugged into connector            in the embodiment of the invention shown by FIG. 15A,
33 of a module bay in an embodiment of the present 65 two module bays 227 and 229 are provided on one side of
invention. Module 191 comprises a conventional FAX card          case 223. There are two more module bays along the other
199 mounted in a case 193 to be compatible with plugging         side of the case opposite the module bays shown. In other
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                               11                                                              12
 embodiments bays may open to other edges of the case. The       includes a female connector 253 for mating with a male
 configuration provides a good balance between the need to connector positioned in each module bay, such as connector
 stay small and simple, and to also have adequate versatility. 231 in FIG. 15B and FIG. 16. Connectors 231 and 253 are
 In alternative embodiments other module configurations          PCMCIA connectors and interface according to that indus
 may be used, such as PCMCIA Type III, and others. In the        trial standard. Guide 251A and 251B are sized according to
 alternative configurations the arrangement of the planar the PCMCIA standards.
 array of modules may vary as well.                                 Function modules are provided in many models capable
    FIG. 15B is a view of computer 221 in the direction of of a wide range of functions. For example, computer 221 in
 arrows 15B-15B of FIG. 15A. I/O area 225 is located on          one embodiment has no onboard CPU or system memory.
 top of case 223. Module bay 227 has a set of guide slots 10 These functions are provided by function modules that may
 230A and 230B. The guide slots are to position and guide a be inserted in any one of the available module bays. Other
 PCMCIA module card inserted into the module bay. Each           kinds of function modules that may be inserted include I/O
 module bay in this embodiment is configured to PCMCIA           system modules that provide speech-based, pen-based or
 dimensional and connective standards and secures the fitted
PCMCIA cards according to those standards. In this embodi 15 hard-disk based
                                                                 keyboard           input. There are also floppy-disk drives,
                                                                             drives, flashcard memory modules, LAN and
 ment of the present invention, case 223 has bays configured
 to PCMCIA type 2, revision B standard. In another embodi        modem adapters, Fax modules, specialty modules such as
 ment of the invention, the case may have other types of         data acquisition modules adapted to specific equipment,
PCMCIA module bays, or bays configured to one or another         specialty video modules, modules to adapt scanner periher
proprietary standard.                                            als to the computer, telephone adapters, and more. In the
    Each module bay has a bus connector, such as connector 20 case of I/O modules, necessary software, and in some cases
231. In this embodiment, connector 231 is a standard             firmware and hardware, may be connected to the internal bus
PCMCIA connector that accepts PCMCIA cards and is                structure by the insertion of a module. For example, a
electrically connected to the palmtop's internal bus. It will   module is provided in one embodiment comprising an
be apparent to those with skill in the art that there are a induction coil and a controller for decoding signals received
number of equivalent ways to connect a function module. 25 via a varying magnetic field and providing code to the
    FIG. 16 is a simplified plan sectional view of computer computer's internal bus. The varying magnetic field is
221 taken according to section line 16-16 of FIG. 15B.          produced by a stand-alone keyboard wherein the keystrokes
Frame 228 frames four PCMCIA module bays 222,224, 227           are coded and transmitted as signals on the field.
and 229 arranged in a planar array. A printed circuit board         In another embodiment, a similar module provides for
structure 235 is fastened and positioned down the center of 30 communication from an auxiliary pen-based input pad. In
frame 228, and connectors 231,232, 234 and 236 are con          yet another embodiment, a plug-in nodule provides a micro
nected to the printed circuit board structure and present their phone, DSP circuitry, and necessary software to accept input
pin structure outward toward the respective bay areas. In the   from a user by voice, and to convert the voice input to
presently described embodiment, the internal connectors are     machine-readable code. Provision of the necessary software
male connectors, but this is not a requirement of the inven 35 and circuitry in these instances in module form provides for
tion.                                                           maximum flexibility an upgradability for modular systems
    Slots 230A and 230B serve to guide a PCMCIA-type card       according to the invention.
into module bay 227, and similar slots are located in each of       Electronic Architecture
the other module bays shown as dotted lines in the sectional        FIG. 19 is a block diagram showing internal elements of
view. A set of three AA batteries 237 are located generally     palmtop computer 221, connected to show the electronic
in the plane of the module bays and provide a portable power    architecture of the modular computer according to an
means in one embodiment. In another embodiment, outside         embodiment     of the invention. A power input and/or conver
power sources may power computer 221 as described above.        sion unit 257 is housed in case 223 (FIG. 15A) and has ports
   FIG. 17 is a partial isometric view of a function module 45 259 for power inputs. Power input may be from AA batteries
240 according to an embodiment the invention, aligned with      237 (FIG. 16) or from an optional conversion unit via
module bay 227 of computer 221. Arrow 241 shows the             outside electrical sources. Conversion unit 257 senses the
direction of insertion of the function module. I/O area 225 is  input conditions and selects appropriate circuitry to convert
implemented on top of case 223 in a plane parallel with the     the input to the voltages needed to power the elements of the
plane of the module bays. Module 240 is a Type 2 PCMCIA 50 system. Output from the conversion unit is to bus 255, which
card and has a thickness D1. The opening of module bay 227      comprises paths for power as well as for digital information
has width W1 and height H1. The length of function module       such as data and addresses.
240 is L1. In this embodiment of the present invention, these      Because there are a wide variety of function modules, as
dimensions conform to PCMCIA industry standards. In an          indicated above and described in more detail below, there
alternative embodiment of the present invention, module 55 needs typically to be more than one power line in bus 255.
bay 227 may change in dimension to accommodate other            For example, computer 221 may utilize hard disk drive
standard or proprietary modules.                                modules, and these modules are preferably provided without
   Module bay 227 engages function module 240 in the full       onboard power sources. The motor drive for a hard disk
inserted position according to PCMCIA standards. In             requires a different power configuration (voltage and cur
another embodiment of the invention, detents may be pro 60 rent) than does a CPU, for example, so there may be parallel
vided similar to those in FIG. 3 for the larger notebook        power lines of differing size and voltage level in bus 255.
computer embodiment. There are a number of ways known           Bus 255 may have a line for 24 V PC, another for 12 V DC,
in the art to position and secure a small module. Securing a    and yet another for 5 V DC, as well as perhaps multiple
module may also be accomplished by other means, such as         ground lines.
clamping or wedging and/or closing retaining mechanisms. 65 Bus 255 connects I/O area 225 and transmits video signals
   FIG. 18 is an enlarged isometric view of function module     from a video controller. The video controller may be integral
240 according to Type 2 PCMCIA standards. Back face 252         to a function module, which is shown as video controller 301
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in a CPU function module 300, or implemented in the case,          multiple docking bays in each plane. Similarly, there are
shown as optional video controller 301(a). As described many ways modules may be built to be docked in a frame
above in a preferred embodiment of the present invention,          work such as computer 11, 221 and 400 to form a planar
I/O area 225 is a combination display with an overlaid touch       array. There are similarly many different kinds of connectors
sensitive screen. In another aspect, the I/O area may com          that might be utilized as well as many kinds of compressed
prise an active-matrix display, in which case, dedicated           buses that can be used. There are many kinds of modules that
analog driver lines from video controller 301 connect to the       may be provided, and many other changes that might be
display. I/O area 225 may also comprise a conventional LCD made within the spirit and scope of the invention.
display wherein I/O control logic is a function of an installed       What is claimed is:
and dedicated I/O peripheral modules. In an alternative O 1. A modular computer comprising:
embodiment, video controller 301 is built into case 223               a case having contiguous walls, the case for supporting
(FIG.15A), and connected directly to bus 255, similar to the             and enclosing elements of the modular computer;
modular notebook computer described above.                            a plurality of separate module bays in a common plane,
   Bus 255 connects to each of module bays 222, 224, 226                 each module bay comprising a walled cavity in the case
and 227 (FIG. 16) through connectors 232, 234, 236 and 15                having an open outboard end and an inboard end closed
231. When a function module, such as CPU module 300, is                  by an end wall, wherein the walls of each cavity,
inserted into a module bay, female connector 253 (FIG. 18)               including the end wall, comprise an extension of the
mates with the respective male connector 232 located in that             contiguous walls of the case;
module bay, and circuitry inside the CPU module is then               a multi-pin electrical connector mounted through the
connected to bus 255.                                           20       inboard wall of each module bay;
   Palmtop Function CPU Module                                        an internal bus within the contiguous walls of the case
   The onboard video controller 301 built into CPU function              connected to each of the electrical connectors mounted
module 300 is a unique feature in one aspect of the present              through the inboard walls of the module bays;
invention. A user is provided an ability to tailor the CPU            a display; and
power and type of video controller to the other modules and           an input apparatus attached to the case substantially
applications for palmtop computer 221. This provides a                   coplanar with the plane of the module bays.
simple means for upgrading by switching CPU function                  2. A modular computer as in claim 1 wherein each module
modules. Video signals are local to the CPU, which                 bay is sized to receive within the cavity and dock a func
increases system performance.                                      tional module, and wherein each module bay has guides for
   FIG. 20 is a more detailed diagram of CPU module 300 30 engaging mating guides on a functional module.
for computer 221. CPU module 300 is similar in function to            3. A modular computer as in claim 1 wherein the input
CPU module 99 (FIG. 6), except for the addition of video           apparatus is a keyboard and the display is a flat-panel display
controller 301. Onboard video controller 301 is bus con            pivoted to the case and closable over the keyboard for
nected by line 263 to a state translator 266. In this embodi       storage and transport.
ment of the invention, the state translator is configured to 35 4. A modular computer as in claim 1 wherein the internal
transmit and receive video signals and commands over bus           bus is a compressed bus for multiplexing data and addresses
255 via connector 231 as well as other functions as described      on a common set of conductors.
above.                                                                  5. A modular computer as in claim 1 wherein the module
   Other Aspects and Features                                        bays open to two opposite edges of the case, and the internal
                                                                  40 bus is implemented in a central spine between the inboard
   The embodiments of the present invention described                walls of opposite module bays.
above specifically address notebook-type and. palmtop-type              6. A modular computer as in claim 5 comprising four
computers. The embodiment described below addresses yet module                bays, two module bays opening to each of the
another aspect of the palmtop type computers.                        opposite edges of the case.
   FIG.21 is an isometric drawing of another embodiment of 45 7. A modular computer as in claim 1 wherein the module
the present invention. Computer 400 comprises an attached bays open to adjacent edges of the case.
pivotable display case 401 and a fixed keyboard 403. The                8. A modular computer as in claim 1 further comprising
display case rotates about a hinge 405 and closes in a fixed         a CPU function module having a CPU microprocessor,
detented position above the keyboard. Display case 401               wherein, upon docking, the CPU microprocessor becomes
comprises a flat-panel display 407. There are two PCMCIA 50 the CPU of the modular computer.
type module bays 412A and 412B on one side of the case,                 9. A modular computer as in claim 8 further comprising
and two more (not shown) on the side opposite. The four              a video controller and a random access memory connected
PCMCIA module bays are arranged in a planar array as                 to the CPU microprocessor.
described above. A frame 415 contains a bus structure (not              10. A modular computer as in claim 1 further comprising
shown) that interconnects all aspects of the PCMCIA type 55 an input control function module configured for receiving
module bays to computer 400 as described above. In this input signals from a separate input apparatus.
embodiment of the present invention, a standard keyboard                11. A modular computer as in claim 10 wherein the
controller (not shown) enclosed in frame 415 connects                separate input apparatus is a keyboard, and the input func
keyboard 403 to the internal bus structure.                          tion module is configured to receive keystroke signals from
   It will be evident to one with skill in the art that there are 60 the keyboard and to communicate the keystroke signals to
many changes that might be made without departing from             the internal bus.
the spirit and scope of the invention. Many of these alter   12. A modular computer as in claim 10 wherein the input
natives have been described above. For example, there may function module is configured to receive input signals from
be more than the four module bays described, or fewer.    a pen-pad separate input device, and to transmit the input
There may also be more than one planar array of module 65 signals to the internal bus.
bays. To provide more docking bays in a compact arrange      13. A modular computer as in claim 10 wherein the input
ment, one might provide two or more planar levels, with   function module comprises a microphone and a digital
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signal processor for receiving voice input, converting the    control function module configured as one of a serial tele
voice input to computer-operable code, and transmitting the   phone modem, a LAN modem, a floppy disk drive, a hard
computer operable code to the internal bus.                   disk drive, a FAX modem, and a data acquisition modem.
   14. A modular computer as in claim 1 further comprising
an input/output control function module, the input/output                          ck   k   ki k   k
